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      Patterns in the Performance Rating, Promotion, Pay and Termination of African
                   American Employees at Cargill, Inc. from 1997 to 2003


  Introduction and Summary

           Peopleclick, Inc. is retained by plaintiffs’ counsel to determine whether statistical
  evidence supports the claim that Cargill, Inc. discriminates against salaried African
  American employees below the senior management level1 in performance rating,
  advancement, compensation and termination. Upon finding such evidence, we are asked
  further to determine whether it is pervasive, or is confined to some isolated group of
  employees or time period. Based on the studies in this report, we conclude that:

       •   Cargill generally employs few African Americans relative to their representation
           in the civilian labor force in each of the nine EEO-1 job categories (Officials and
           Managers, Professionals, Sales Workers, Technicians, Office and Clerical
           Workers, Craft Workers, Operatives, Laborers and Service Workers).

       •   The following disparities between African Americans and similarly situated peers
           persist from year to year, apply to both exempt and non-exempt employees, and
           are found across divisions and job groups, even after accounting for differences in
           education level and service:

           o African Americans receive disproportionately low performance ratings
           (imbalance: 8.64 standard deviations; probability less than one in a million
           billion)2

  1
    Senior managers are identified as employees with pay grades ending in numbers above 15 or
  letters A, B, C, SR, ST, or SX.
  2
    Statistical imbalances are customarily expressed either as probabilities or numbers of standard
  deviations. Imbalances of less than two standard deviations are generally considered small
  enough to attribute to chance, while those greater than two or three are generally considered so
  large that they call for some explanation other than chance. In the absence of discrimination, a
  disparity to the disadvantage of African Americans that is as large or larger than 9.35 standard
  deviations is extremely unlikely – less than one in a billion billion. The correspondence between
  numbers of standard deviations and probabilities is outlined in the following table:
           Standard Deviations      Probabilities
                    2               0.02275                   or one in 44
                    3               0.001350                  or one in 741
                    4               0.00003167                or one in 31,574
                    5               0.0000002867              or one in 3,488,556
                    6               0.0000000009866           or one in 1,013,594,692
                    7               0.000000000001280         or one in 781,364,430,891



                                                  2
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         o African Americans receive disproportionately few promotions (imbalance:
         3.41 standard deviations; probability less than one in three thousand)

         o African Americans receive smaller pay increases (imbalance: 5.34 standard
         deviations; probability less than one in twenty-one million )

         o African Americans receive smaller bonuses, awards and incentives
         (imbalance: 9.08 standard deviations; probability less than one in a billion
         billion)

         o African Americans are terminated at disproportionately higher rates
         (imbalance: 4.55 standard deviations; probability less than one in three hundred
         seventy thousand)

     •   In sum, there is a pervasive pattern of statistically significant disparities to the
         disadvantage of African Americans throughout Cargill. These disparities are not
         confined to a single year, nor to only exempt or non-exempt employees, nor to a
         single division or job group, nor are they attributable to differences in educational
         attainment or years of service to Cargill.

  The details supporting these conclusions are explained below.


  Sources of Information

  We received the following data files through plaintiffs’ counsel:

     •   Cargill HRIS data with SSN (Bates Number 2000007-08)
     •   Cargill ResTrac data (Bates Number 2000009)
     •   HRIS Data Record Layouts (Bates Numbers 2000010-13)
     •   HRIS Lookup Table Record Layouts (Bates Numbers 2000014-18)
     •   ePMP data (Bates Numbers 2000023 – 24)
     •   Lookup tables 69 and 10048 only with new fields included and full file of
            employee data with new fields included (Bates Number 2000031)
     •   ResTrac and job posting data (Bates Number 2000033)
     •   Bonus and Options data, including data for salary grades above 15 (Bates
            Number 2000034)
     •   HRIS data on salaried non-exempt employees and employees in Bands A, B and
         C (Bates Number 2000036)
     •   Pre-July 1997 ResTrac data (Bates Number 2000037)
     •   ePMP data for salaried exempt employees, grades 15 and below (Bates Number
            2000038)
     •   ePMP data for salaried non-exempt employees and exempt employees above
            grade 15 (Bates Number 2000039)



                                               3
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     •   Status data for Excel employees in grades above 15; position data for all Excel
         exempt salary grades and location data for all Excel exempt salary grades (Bates
         Number 2000040)
     •   1997 / 1999 KEIS data; 2000 LTMP data; KEIS glossary of terms; Leadership &
         Talent Management Process Glossary; and Leadership & Talent Management
         Process (Bates Number 2000041)
     •   Supplemental electronic LTMP data (Bates Number 2000044)
     •   Supplemental ePMP, Job Posting, Restrac and Bonus and Options data (Bates
         Number 2000045)
     •   Calendar Year 2002 – YTD 2003 HRIS data (Bates Number 2000046)
     •   Documents from Cargill’s 2000-2001 affirmative action plans including
         descriptions of job groups (Bates Numbers 168996, 168998, 169003, 169005,
         368847-48, 368850-52, 368853, 368856, 368859-64, 368866-67, 368869,
         368871, 371505-7, 380559)
     •   EEO-1 Reports for 1990-2003 (Bates Numbers 119187-89, 119978, 119980-82,
         120112, 120115-16, 120375-77, 120243-45, 307852-53, 316294, 393990-91,
         820287-303, 820891-92, 964091-93, 964098-99, 964102-03)
     •   Sample Affirmative Action Plans (Bates Numbers 161840, 161900, 163732, 163837,
         166747, 166895, 166896)

         The HRIS (Human Resource Information System) files in the list above cover the
  time period January 1992 – October 2003. They serve as the primary data source
  underlying our studies by providing historical records for each employee with regard to
  educational attainment, positions held, performance ratings, annual pay and quarterly
  earnings. They also include static employee information such as hire date, birth date and
  race as well as an indicator of the employee’s status (e.g., active, on-leave, retired,
  terminated).

  Claims and Studies

         Plaintiffs, seeking to represent a class of African American management,
  professional, and other salaried exempt and non-exempt employees, allege that Cargill
  discriminates against African Americans in performance rating, advancement,
  compensation and termination. We first show that Cargill employs few African
  Americans relative to their representation in the labor market, an indication that African
  Americans either are not or else do not feel themselves particularly welcome at Cargill.
  Then, in a series of five studies examining, in turn, employee performance ratings,
  promotions, pay progression, discretionary pay and terminations, we show that statistical
  evidence supports plaintiffs’ claims that even those limited number of African American


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  employees at Cargill do not fare as well as their non-African American peers. For each
  study, we describe below the key features of the methodology and summarize the results.
  First, however, we provide a brief explanation of the approach taken to assess plaintiffs’
  claims.

  Detecting Race Patterns in Cargill’s Employment Practices

            We employ a common sequence of steps to analyze Cargill’s performance rating,
  promotion, pay and termination practices for statistical indications of employment
  discrimination. We start with the databases provided to us by plaintiffs’ counsel and
  from these create data sets (called snapshots) of employees who were actively employed
  by the company on June 30th and December 31st of each year from 1997 to 2003.3 Next,
  we group employees in a snapshot by their exempt or non-exempt status under the Fair
  Labor Standards Act (‘FLSA status’), division, job group4, education level and years of
  service, based on our expectation that employment decisions at Cargill typically are made
  along divisional lines, and take into account the type of job an employee holds, and an
  employee’s educational attainment and tenure with the company. We call these groups
  “cohorts,” and they form the basic unit of analysis in our studies.


            Our studies check for disparities between African Americans and their cohort
  peers in assignment of performance ratings, selection for promotion, selection for
  termination, rates of pay progression, and receipt of discretionary incentive awards. A
  disparity in, say, promotions is said to be “statistically significant” when it is quite
  different from that which would be expected if promotions were granted randomly, and
  hence without regard to race. In this report, we interpret the magnitude of a disparity in
  one of two ways: (i) as a number of standard deviations or (ii) as a p-value.


  3
      A December 31st snapshot is not created for 2003 since the data end in October of that year.
  4
    Job groups are groupings of "jobs at the establishment with similar content, wage rates, and
  opportunities." (41 CFR 60-2.12(b)) "Similarity of content refers to the duties and
  responsibilities of the job titles which make up the job group. Similarity of opportunities refers to
  training, transfers, promotions, pay, mobility, and other career enhancement opportunities offered
  by the jobs within the job group." Id.



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          Courts and statisticians generally regard a disparity between –2 and +2 standard
  deviations as small enough to attribute reasonably to chance factors in the assignment,
  selection or pay-setting process. For that reason, such a disparity is said to be statistically
  insignificant. On the other hand, a disparity less than –2 standard deviations (for
  example, –4.7) or greater than +2 standard deviations is generally interpreted as being
  statistically significant, that is, likely caused by some factor other than chance. In the
  context of this report, it may support an inference that race was used as a criterion in
  making the employment decisions under question. Henceforth in this report, a positive
  number of standard deviations indicates that African Americans are favored relative to
  their non-African American peers; a negative number of standard deviations indicates
  they are disfavored relative to their peers.5

          The above discussion pertains to isolated or “bottom line” numbers of standard
  deviations. Where a number of standard deviations is just one among several, its
  interpretation is more complex. For example, in the performance ratings study discussed
  below, we find from among 43 job groups having comparators that 13 have a disparity
  of –2 or more standard deviations to the disadvantage of African Americans and none
  have a disparity in excess of +2 standard deviations to the advantage of African
  Americans. Under a model that randomly assigns performance ratings to employees, it is
  very unlikely that 13 or more job groups would have such large disparities to the
  disadvantage of African Americans, so unlikely in fact that this result cannot be attributed
  reasonably to chance; it is statistically significant. On the other hand, it is quite likely
  under a random assignment model that at least one job group would have a number of
  standard deviations equal to or exceeding +2 standard deviations. Thus, a single
  disparity of, say, +2.3 standard deviations would not be statistically significant,
  notwithstanding the fact that it exceeds +2 standard deviations.



  5
    When establishing the two standard deviation threshold, courts had in mind disparities
  measured for random variables that follow a normal distribution. If a random variable follows a
  different native distribution, such as the hypergeometric or binomial distributions, then disparities
  based on the random variable should be expressed as numbers of standard deviations on a normal
  scale (i.e., normal-equivalent numbers of standard deviations) rather than on the native scale.



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          Another way to express a racial disparity is in terms of a p-value (or probability
  value).6 Consider a p-value in the context of a study examining the assignment of
  performance ratings. Such a p-value measures the likelihood (under a random
  assignment model) of observing a disparity at least as disadvantageous (if negative) or
  advantageous (if positive) to African Americans as the disparity actually observed. A
  small p-value indicates that the observed disparity (or one even more extreme) is an
  unlikely event under a random assignment model. More specifically, it can be shown that
  a disparity in excess of about two (normal-equivalent) standard deviations is so large that
  it would occur less than 2.5% of the time if performance ratings were distributed across
  members of a cohort in completely random fashion. Thus, the two standard deviation
  threshold for declaring statistical significance corresponds closely to a 2.5% threshold
  for p-values.7 A p-value smaller than this threshold indicates the disparity is statistically
  significant; a p-value larger than this threshold indicates the disparity is statistically
  insignificant.


          Although cohorts are the basic unit of analysis in our studies, some may have so
  few members that even an egregious disparity between African Americans and their
  cohort peers would not generate a number of standard deviations in excess of two or a p-
  value less than 2.5%. Therefore, to assess whether any patterns persist across divisions
  or job groups, we aggregate the statistical results found at the cohort level by division and
  again by job group. We do the same for FLSA status, education level, and years-of-
  service groups. We aggregate cohort results by snapshot year to determine whether any
  pervasive patterns appear on a year-to-year basis. We also aggregate the cohort results
  together to obtain an overall summary.




  6
   A p-value may be one-tailed or two-tailed. In this report, we refer only to one-tailed p-values.
  We omit the use of the term “one-tailed” for the convenience of the reader.
  7
    The p-value threshold of 2.5% corresponds more exactly to a 1.96 threshold on the standard
  deviation scale, but the latter figure is usually rounded off to 2 in practice.



                                                  7
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  Section I. General Characteristics of Cargill’s Salaried Workforce

             Table 1.1 below shows the racial composition of Cargill’s U.S. salaried workforce
  at year’s end for each year from 1997-2002.8 As the table indicates, Cargill has
  employed African Americans in percentages ranging from 4.34% (610 out of 14,067)
  in 2000 to 4.54% (672 out of 14,807) in 1997. The percentage of African Americans
  was smaller each year among exempt employees (ranging from 3.13% to 3.30%) than
  among non-exempt employees (6.29% to 6.69%).


                Table 1.1 Racial Composition of Cargill’s U.S. Salaried Workforce

                   Total        % Afr      Total        % Exempt     Total Non-    % Non Exempt
      Year       Employees      Amer      Exempt        Afr Amer      Exempt         Afr Amer
      1997         14,807        4.54      8,992          3.21          5,815            6.59
      1998         14,531        4.39      9,053          3.17          5,478            6.41
      1999         14,893        4.42      9,312          3.30          5,581            6.29
      2000         14,067        4.34      9,045          3.23          5,022            6.33
      2001         13,880        4.40      8,934          3.16          4,946            6.65
      2002         14,143        4.36      9,286          3.13          4,857            6.69


             Cargill records the EEO-1 category of each employee in its HRIS database and uses this
  information to complete the EEO-1 report for submission to the Equal Employment Opportunity
  Commission (EEOC) and Office of Federal Contract Compliance Programs (OFCCP). We
  compared the racial composition of Cargill’s salaried workforce for each of the above
  years to that of the U.S. civilian labor force for each of the nine EEO-1 job categories,
  using data from the 1990 and 2000 censuses.9 For each year and almost every EEO-1


  8
    These counts and percentages represent active, salaried, full-time employees at or below grade
  15 in the U.S. The year-end snapshots used here and in our studies do not include employees on
  long-term disability or those with a location of “International.” No year-end snapshot is available
  for 2003 since the HRIS data end in October of that year. Salaried U.S. employees make up less
  than half of Cargill’s total U.S. workforce; as of 2001, the total number of Cargill employees was
  40,662, according to its 2001 EEO-1 Form.
  9
    Federal agencies often use the decennial census Special EEO file, one version of which reports
  the race and gender composition of the civilian labor force by EEO-1 category, as a benchmark
  against which to compare an employer’s incumbent workforce for compliance with anti-
  discrimination laws. In its Affirmative Action Program, Cargill collects jobs into the same “job
  group” units that we use in our studies.



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  category, Cargill employed fewer African Americans than would be expected given their
  availability in the U.S. civilian labor force. Below, we show the results for years 1998
  and 2001. Appendix A10 contains the results for the remaining years as well as the results
  of comparisons conducted at the regional level, which are generally consistent with the
  results presented below.11


            Table 1.2 below depicts the situation at the end of 1998 for each EEO-1 job
  category. It shows, for example, that there were 2,514 Officials and Managers at
  Cargill, of whom 2.82% were African American. In contrast, the census data indicate
  that African Americans, in 1990, represented 5.35% of the Officials and Managers in
  the U.S. civilian labor force. By 2000, this percentage had risen to 6.29%.12 Chart 1.2
  provides a graphical depiction of these comparisons. Table 1.4 makes the same
  comparison for year end 2001 with a graphical depiction in the accompanying chart. As
  is evident from the tables and the charts, Cargill generally employed fewer African
  Americans than would be expected given their representation in the civilian labor force,
  doing so for all but one category (Craft Workers) in 1998 and one category (Technicians)
  in 2001.




  10
       Appendix A was previously submitted with our April 21, 2004.
  11
     While these studies involve only salaried employees, we also ran a version based on all Cargill
  employees reported on the company’s EEO-1 forms for each of the years 1995-2003. This
  version also indicates that Cargill consistently has employed few African Americans relative to
  their presence in the nine EEO-1 categories within the U.S. civilian labor force.
  12
     We also conducted this comparison by region and found substantially similar results,
  especially in the midwest region where the bulk of Cargill’s work force is employed. These
  results are presented in Appendix A.


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      Table 1.2 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
      in 1998, Compared to the U.S. Civilian Labor Force According to the 1990 and
      2000 Census
                                                              1998 Cargill Salaried Workforce                     Census
                                                                                   Non-                      1990        2000
                                                          Total     African       African   African         African    African
    EEO-1 Job Category                                  Employees American American American               American American
                                                            (#)            (#)        (#)          (%)          (%)                   (%)

Officials and Managers (01)                                  2,514          71        2,443       2.82          5.35                  6.29
Professionals (02)                                           5,345         203        5,142       3.80          7.34                  7.63
Technicians (03)                                               417          27          390       6.47          8.87                 10.97
Sales Workers (04)                                           1,160          11        1,149       0.95          7.75                  8.61
Office/Clerical Workers (05)                                 2,333         108        2,225       4.63         11.41                 12.24
Craft Workers (06)                                             552          39          513       7.07          7.21                  6.84
Operatives (07)                                              1,440         126        1,314       8.75         14.07                 13.44
Laborers (08)                                                  711          49          662       6.89         13.05                 11.61
Service Workers (09)                                              25             2          23    8.00         17.06                 15.79

      Chart 1.2 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
                in 1998, Compared to the U.S. Civilian Labor Force According to the
                1990 and 2000 Census


                                        18
                                        16
             Percent African American




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                               Table 1.3 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
                                         in 2001, Compared to the U.S. Civilian Labor Force According to the
                                         1990 and 2000 Census

                                                           2001 Cargill Salaried Workforce                      Census
                                                                                non-                       1990       2000
                                                       Total     African       African   African          African    African
                 EEO-1 Job Category                  Employees American American American                American American
                                                         (#)            (#)         (#)          (%)          (%)              (%)

Officials and Managers (01)                              2,757           70         2,687        2.54        5.35              6.29
Professionals (02)                                       4,949          190         4,759        3.84     7.34                 7.63
Technicians (03)                                           367           35           332        9.54     8.87                10.97
Sales Workers (04)                                       1,144           17         1,127        1.49     7.75                 8.61
Office/Clerical Workers (05)                             2,023           90         1,933        4.45    11.41                12.24
Craft Workers (06)                                         495           21           474        4.24     7.21                 6.84
Operatives (07)                                          1,458          137         1,321        9.40    14.07                13.44
Laborers (08)                                              576           45           531        7.81    13.05                11.61
Service Workers (09)                                            21            1           20     4.76    17.06                15.79


                               Chart 1.3 Racial Composition of Cargill’s Salaried Workforce by EEO-1 Categories
                                         in 2001, Compared to the U.S. Civilian Labor Force According to the
                                         1990 and 2000 Census


                                18
   Percent African Americans




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                                                                                                                    Cargill
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Section II. Performance Management Process (PMP)

              Plaintiffs claim that Cargill uses its Performance Management Process (PMP)
    system in a discriminatory manner to justify employment decisions adverse to African
    Americans, such as decisions to terminate African Americans, to not promote African
    Americans and to deny African Americans merit pay increases or other advancement and
    development opportunities. Our examination of performance ratings in the HRIS pay
    history files permits the following characterizations of the PMP system. First, Cargill
    does not record a current rating for a large percentage of its employees in any given year.
    On a year-by-year basis from 1997-2002, the percentage of employees with a
    performance rating for that year ranges from a low of 56.7% in 1997 to a high of 75.7%
    in 2002.13,14 Second, Cargill has used several different rating scales over time with no
    clear correspondence between rating systems. Of these scales, two predominate during
    the claim period. One rating scale uses the numbers 2-6 with 6 being the highest rating
    and 2 being the lowest.15 The other rating scale uses the following five letter
    designations: BE, MS, ME, ES and EE.16


              To conduct a consistent statistical analysis of the PMP system, we convert the
    letter scale to a five-point scale with 5 being the highest rating and 1 being the lowest.
    We also convert the number scale to the same five-point scale with 5 being the highest
    rating and 1 being the lowest. However, we do not combine employees rated under the
    different systems, which would presume, for example, that a ‘5’ under the number system
    is equal to ‘EE’ in the letter system. Instead, we use the rating scale, letter or number, as




    13
         These percentages are recorded in Table 2.2 for each year, 1997 through 2002.
    14
       Furthermore, the percentage of African Americans missing a rating was consistently higher
    than would be expected given their representation in the workforce.
    15
       According to HRIS code descriptions provided by Cargill, 1 = Newcomer; 2 = Unsatisfactory;
    3 = Needs Improvement; 4 = Good; 5 = Very Good; 6 = Outstanding.
    16
       According to HRIS code descriptions provided by Cargill, BE = Below Expectations; MS =
    Meets Some Expectations; ME = Meets Expectations; ES = Exceeds Some Expectations and EE
    = Exceeds Expectations


                                                     12
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   an employee grouping variable to take into account the possibly different nature of these
   rating systems.


           Using year-end snapshots of Cargill’s salaried workforce from 1997 to 2002, we
   group employees in each snapshot by FLSA status, division, job group, education level17
   and service.18 For each snapshot year, we identify each employee’s rating in that year
   and include in our analysis only employees who received a rating of 2 through 6 or one of
   the five letter ratings (BE, MS, ME, ES, EE).19

           We use a standard statistical procedure called the rank sum test to determine
   whether African Americans within a cohort tend to fall at the low end of the rating scale
   compared to what would be expected if ratings within cohorts were assigned without
   regard to race. To examine whether there are pervasive patterns of racial disparities
   within Cargill, we aggregate the results from the cohorts by year, FLSA status, division,
   job group, educational level and service quartile. We then aggregate the results across all
   cohorts for an overall summary.


           Table 2.1 shows the overall summary result across all cohorts and years. It shows
   that over the six-year period covered by the study, there were 1,822 instances in which
   African American employees were assigned ratings. It shows further that when these
   ratings are compared within cohorts, the overall pattern is disadvantageous to African

   17
      Based on HRIS education files, we place employees into one of four education levels as
   follows: no recorded degree = None recorded; degrees AA and AD = Less than college; degrees
   BA, BS, BC and BD = College; and degrees MA, MS, MD, DO, DP, JD and PG = Advanced
   Degree.
   18
      Based on the distribution of years of service for all employees in our snapshots, we group
   employees into one of four service quartiles where employees in the 1st quartile have the least
   service and those in the 4th quartile have the most.
   19
      There were a handful of other ratings in the HRIS files, such as B, M, E, MH and ML. We
   chose to limit our reported study to those rated under the two predominant rating scales.
   However, we conducted an additional study that included these ratings and found similar results
   (see note 19). Also, it is our understanding that employees are generally rated in June, so it is
   reasonable to expect that each employee’s rating would be recorded by the December 31st
   snapshot date.



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   Americans by 8.64 standard deviations. (Recall that a negative sign in front of a
   number of standard deviations, designated by parentheses around the number of standard
   deviations in this table and all tables in this report, indicates that the imbalance disfavors
   African Americans.) That is, there is a very strong pattern of imbalance from cohort to
   cohort showing that African Americans received lower performance ratings than did their
   cohort peers. Expressed on the probability scale, this imbalance has a p-value of less
   than one in a million billion. That is, it is virtually inconceivable that an imbalance this
   severe would occur if, within each cohort, performance ratings were assigned randomly
   (and hence without regard to race).20

           For purposes of determining whether this overall imbalance is attributable to
   imbalances in just one or a few rogue cohorts, we break down this summary into
   component parts in each of the next six tables. Table 2.2 breaks down the summary
   disparity showing its year by year components, revealing that the pattern of disadvantage
   to African Americans exists for every year between 1997 and 2002. For four of the six
   years, the disparity exceeds two standard deviations. The largest disparities occur in the
   years 2000-2002, those in which the highest percentages of employees are rated.21


           The next two tables break down the overall summary by rating system (Table 2.3)
   and FLSA status (Table 2.4), showing that disparities exceed two standard deviations
   both for exempt employees and for non-exempt employees, and for employees rated
   under the most frequently used rating system, the letter rating system, all to the
   disadvantage of African Americans. Further, as seen in Tables 2.5 and 2.6, the disparity

   20
      We conducted an additional study that converts all ratings, not just those found in the two
   official ratings systems, into a five-point scale with 1 being the lowest rating and 5 being the
   highest. With all ratings included, the overall ratings disparity between African Americans and
   their peers equates to –9.11, slightly stronger evidence that African Americans receive
   disproportionately low performance ratings.
   21
      The disparities in 1997 and 1999 are both less than two standard deviations in magnitude, but
   both are negative, and both should be interpreted in the context of the imbalances for the other
   years. One would expect that, if Cargill’s practices were consistently tipped against its African
   American employees, there would be some years in which the imbalances are more apparent than
   others. The yearly imbalances, including those for 1997 and 1999, are consistent with a yearly
   pattern that on average is disadvantageous to African Americans by 3.31 standard deviations to
   the disadvantage of African Americans.


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   in ratings between African Americans and their peers cannot be isolated to one or a few
   job groups or one or a few divisions.22

             At the job group level (Table 2.5), African Americans received lower than
   expected ratings in 30 out of the 38 job groups in which there is sufficient data to
   calculate a number of standard deviations. Out of these 30 job groups, the disparity
   equals or exceeds two standard deviations to the disadvantage of African Americans in
   13 job groups.23 These 13 job groups cut across different job functions, such as
   Production, Administration, Information Systems, Clerical, Labor and Human Resource
   Development.


             At the division level (Table 2.6), African Americans receive lower than expected
   performance ratings in 40 of the 51 divisions in which there is sufficient data to
   calculate a number of standard deviations. The disparity exceeds two standard deviations
   to the disadvantage of African Americans for each of 13 divisions.24 There are no
   divisions with a rating disparity that exceeds two standard deviations to the advantage of
   African Americans.

             Table 2.7 shows the ratings disparity summarized by education level and also by
   years of service. In the education summary, the disparities are most pronounced among

   22
        The job group and division names reported in the tables are the ones provided by Cargill.
   23
      The number of standard deviations associated with the disparities in these 13 job groups
   ranges from –5.26 to –2.01. There are 33 job groups large enough to generate an imbalance of
   –2.01 or more standard deviations. The probability that 13 or more of these would randomly
   yield a number of standard deviations less than or equal to –2.01 is less than one in five hundred
   billion, and equates to –7.31 standard deviations. Being far greater than two standard deviations
   in magnitude, this signals an imbalance to the disadvantage of African Americans too large to
   attribute to chance. There are no job groups where the disparity exceeds +2 standard deviations
   to the advantage of African Americans.
   24
      The number of standard deviations associated with the disparities in these 13 divisions ranges
   from –4.0 to –2.02. There are 38 divisions large enough to generate an imbalance of –2.02 or
   more standard deviations. The probability that 13 or more of these would randomly yield a
   number of standard deviations equal to or exceeding –2.02 is less than one in five hundred
   billion, and equivalent to –7.06 standard deviations. Being substantially greater than two
   standard deviations in magnitude, this is an imbalance to the disadvantage of African Americans
   that cannot reasonably be attributed to chance.



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   the two largest groups of employees, those with college degrees ( -4.15 standard
   deviations) and those with no recorded degrees ( -7.13 standard deviations). In each of
   the other two educational groups of employees, the imbalance of performance ratings
   also disfavors African Americans, one slightly in excess of two standard deviations in
   magnitude and one slightly less than two standard deviations.

          The table also shows that when cohorts are grouped based on employee service,
   every single service quartile produces a statistically significant imbalance to the
   disadvantage of African Americans. These imbalances range from −2.69 to −5.33
   standard deviations.

          Of particular interest for the purposes of class certification is the fact that the
   overall disparity cannot be attributed to a single time period, division or job group or to
   only exempt or non-exempt employees. Even after we account for educational
   attainment and service, the disparities in performance ratings between African Americans
   and their peers are not isolated to one particular year, FLSA status, division, job group,
   education level or service group. The results presented above point to a pervasive pattern
   at Cargill in which African Americans receive disproportionately low ratings compared
   to similarly situated non- African Americans.




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                TABLES 2.1 - 2.7: PERFORMANCE MANAGEMENT PROCESS
                                     (PMP) RATINGS


                                          Table 2.1 Overall Summary

                                                         Total African
                             Total Employees              Americans               S.D.s
                                                                                          25
                                    51,680                      1,822            (8.64)




                                                Table 2.2 By Year

                                                         Total African                         % of Total
                 Year       Total Employees               Americans              S.D.s          Rated
                  1997            7,515                      243                 (1.74)          56.7
                  1998            7,779                      283                 (2.60)          62.9
                  1999            7,882                      295                 (1.37)          65.6
                  2000            8,363                      314                 (4.19)          69.0
                  2001            9,687                      325                 (5.32)          71.7
                  2002           10,454                      362                 (4.62)          75.7



                                          Table 2.3 By Rating System

   Rating System                      Total No. of Employees            Total No. of African Americans      S.D.s
                Letter                                    50,563                                    1,732   (8.55)
               Number                                      1,117                                       90   (1.20)



                                           Table 2.4 By FLSA Status

   FLSA                               Total No. of Employees            Total No. of African Americans      S.D.s
                Exempt                                    40,277                                    1,267   (8.58)
                Nonex                                     11,403                                      555   (2.31)




   25
        For this and other tables in the report, parentheses around a number indicate that the number is negative.


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                                                       Table 2.5 By Job Group

Job Group                                                                 Total No. of Employees   Total No. of African Americans       S.D.s
  02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                                         6,659                                295     (5.26)
  __ 11 MANAGEMENT ll                                                                       444                                  17     (3.49)
  02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                                  2,184                                 51     (3.37)
  02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                                        1,973                                 57     (3.04)
  01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                                           3,708                                127     (2.73)
  02 X OTHER SPECIALISTS (PG 1-10)                                                          984                                  35     (2.57)
  02 OTHER SPECIALIST (PG 1-10)                                                            1,575                                 33     (2.36)
  01 C GENERAL MANAGEMENT (PG 9-15)                                                         502                                   8     (2.32)
  02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                                788                                  15     (2.29)
  02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                           1,101                                 37     (2.10)
  08 N6 LABORERS                                                                            191                                  14     (2.03)
  05 N3 SKILLED CLERICAL 1-4                                                               1,017                                 73     (2.02)
  01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                                    1,101                                 25     (2.01)
  02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                                           3,216                                207     (1.89)
  01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                                       268                                   8     (1.86)
  06 N4 CRAFTS                                                                              527                                  14     (1.69)
  05 NV SECRETARIES 2-5                                                                     615                                  36     (1.60)
  02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                            935                                  43     (1.39)
  05 N1 SKILLED CLERICAL 5-7                                                               2,435                                101     (1.22)
  02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                            308                                  14     (1.22)
  04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                              1,275                                 12     (1.10)
  05 NY ACCOUNTANTS 6-7                                                                     546                                  10     (1.00)
  01 XX-8595 PAINTING & DECORATING OCC                                                      269                                  11     (0.98)
  01 K ACCOUNTING MANAGEMENT (PG 10+)                                                      1,313                                 25     (0.94)
  03 NR TECHNICAL SUPPORT                                                                   896                                  43     (0.84)
  02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                            823                                  48     (0.64)
  03 NT COMPUTER OPERATIONS                                                                 304                                  42     (0.56)
  __ 41 SALES BELOW 10                                                                      228                                   3     (0.40)
  04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                             3,693                                 59     (0.17)
  07 N5 OPERATIVES                                                                         2,314                                118     (0.08)
  01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                                         1,073                                 27     0.06
  05 NU SECRETARIES 6-7                                                                     940                                  11     0.17
  05 NZ ACCOUNTANTS 2-5                                                                    1,488                                 83     0.21
  09 N7 SERVICE WORKERS                                                                      95                                   9     0.29
  01 H MERCHANDISING MANAGEMENT (PG 11+)                                                    805                                  19     0.48
  01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                           1,047                                 22     0.62
  02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                          1,548                                 34     0.68
  01 U SALES MANAGEMENT (PG 11+)                                                           1,331                                 21     0.79
  __ 12 MANAGEMENT lll                                                                       81                                   2     1.22
An additional 18 job groups have insufficient data to calculate a number of S.D.s.       Highlighted lines have 50 or > African Americans.




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                              Table 2.6 By Division

                                                          Total No. of
                                        Total No. of        African
           Division                     Employees         Americans      S.D.s
               07515-ADMIN                       4,051             83    (4.00)
               07420-EXCEL BEEF                  2,086             62    (3.66)
               07115-HORIZMILL                     948             56    (3.35)
               07500-SSC                           281             19    (2.96)
               00535-HOHENBERG                     136             49    (2.70)
               07135-SWEETNRNA                   2,438            149    (2.64)
               07465-PHOSPHPROD                    949             61    (2.45)
               07510-WIRE                          150             13    (2.38)
               00512-CORN MLG                    2,746            128    (2.29)
               07010-AGHORIZUS                   1,514             24    (2.12)
               07295-CIS                           732             85    (2.11)
               07495-NSS                         1,783             58    (2.04)
               00036-WWJFV                         130             10    (2.02)
               00505-ADMIN                       2,502             60    (1.90)
               07968-MEAT SOL                    1,092              8    (1.80)
               00533-CIS                           772             72    (1.68)
               00513-OILSEEDS                      739             35    (1.52)
               07080-WILBUR                        229              3    (1.38)
               07370-CGLCITRPUR                    194              8    (1.37)
               07430-EXCEL PORK                    703             13    (1.31)
               07105-ARO                            87              6    (1.18)
               07415-EMMPAK                        418             14    (1.18)
               07245-HEA/FDTECH                    237              4    (1.16)
               07475-FERTDISTR                     286              5    (1.09)
               00073-COFFEE                        104             20    (1.06)
               07120-DSONA                         359             22    (1.05)
               00516-FOOD SECTR                     94              6    (1.05)
               07480-DEICTECHN                     500             16    (1.01)
               07110-US PNUTS                       14              3    (1.00)
               00532-FMG                           655              9    (0.99)
               07070-TURKPROD                    1,219             35    (0.91)
               00539-EXCEL                       3,674             89    (0.84)
               07440-EXCELCR                       264             20    (0.62)
               00108-WILBR CHOC                    121              2    (0.58)
               07220-VIT E                          31              1    (0.58)
               00518-DRY MLG                       870             56    (0.54)
               07405-WWCOTTON                      191             36    (0.46)
               00550-PPD                         1,008              9    (0.38)
               07025-CAN                         2,172             33    (0.22)
               00034-FERTILIZER                    902             43    (0.12)




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                                               Table 2.6 cont’d
                                                                          Total
                                                   Total                 African
                           Division              Employees              Americans        S.D.s
                   07325-GOSCNA                          1,231                      77   0.06
                   07125-DRYCORNING                        249                       6   0.17
                   00001-NAG                             1,876                      74   0.22
                   00538-NSS                             1,322                      45   0.38
                   00507-SALT                            1,365                      56   0.43
                   00106-NAG/AGM                            82                       3   0.50
                   00503-AN NUTR DV                      2,271                      21   0.53
                   00523-CSW                               275                      12   0.80
                   07485-SALT                            1,238                      62   1.23
                   07060-SUNFRFDS                          329                       4   1.41
                   00508-SEED                                     675                2   1.73
             57 additional divisions have insufficient        Highlighted lines have 50 or more
             data to calculate a number of S.D.s.                    African Americans.



                            Table 2.7 By Education Level and Service

      Education Level            Total No. of Employees            Total No. of African Americans      S.D.s
    Advance Degree                                 3,968                                      106      (2.01)
    College                                      20,397                                       502      (4.15)
    Less than College                              3,060                                       88      (1.77)
    None Recorded                                24,255                                     1,126      (7.13)
    Years of Service             Total No. of Employees            Total No. of African Americans      S.D.s
    1st quartile                                          8,716                                  354   (2.69)
    2nd quartile                                         14,291                                  424   (4.45)
    3rd quartile                                         14,103                                  434   (4.41)
    4th quartile                                         14,570                                  610   (5.33)




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   Section III. Promotions

          Plaintiffs claim that Cargill discriminates against African Americans in
   advancement, including promotions. Our second study examines whether African
   Americans are promoted at the same rates as their non-African American peers. For this
   study, we create snapshots of Cargill’s salaried workforce as of June 30th and December
   31st of each year from 1997 to 2002.26 For each semi-annual snapshot, we group
   employees by FLSA status, division, job group, education level and service and identify
   within each group those employees promoted during the subsequent six month period.


          Within each cohort, we compare the proportion of African Americans promoted
   with that of all other members of the cohort. As in the study of performance ratings, we
   examine whether there are pervasive patterns of racial disparity by aggregating the results
   from the cohorts in turn by year, FLSA status, division, job group, education level, and
   service quartile. We then aggregate the results across all cohorts for an overall summary.


          Table 3.1 shows the overall summary results. It shows that over the period from
   August 22, 1997 through September 2003, 328 African Americans were promoted. It
   also shows that, had promotions been awarded within each cohort in the same proportion
   to both African Americans and to non- African Americans, that 380.21 promotions
   would have gone to African Americans. This disparity equates to –3.41 standard
   deviations, or, on the probability scale, to one chance in 3,078. This is a disparity far too
   great to attribute solely to chance.


          Table 3.2 shows the year-by-year components of this overall disparity. It shows
   for each year the total number of employees in the snapshots (there are two snapshots
   each year starting with 1997), the number from among this total that were promoted, and
   the number of these who are African American. Also reported is the number of African
   Americans that would be promoted if Cargill promoted them at exactly the same rate as
   their cohort peers. The last two columns of the table report the difference between the

   26
     By using semi-annual snapshots instead of annual ones, we capture instances in which an
   employee is promoted once in the first half of a year, and then again in the second.


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   actual and expected numbers of African American promotions and the number of
   standard deviations associated with this difference. As shown in the table, African
   Americans were promoted less often than expected in six out of seven years, with the
   disparity exceeding two standard deviations to the disadvantage of African Americans in
   two years (namely, 2000 and 2002).27


           Table 3.3 shows that fewer than expected African Americans were promoted
   within each FLSA category. The disparity between the actual and expected number of
   exempt African American promotions exceeds three standard deviations to their
   disadvantage.


           Table 3.4 presents the results broken down by job group. It reveals that the
   overall disparity of –3.41 standard deviations is not the result of large disparities in just
   one or a few job groups. Indeed, there is no job group among the 45 that exhibits a
   disparity more extreme to the disadvantage of African Americans than –1.96 standard
   deviations. It is apparent from the table that the overall imbalance of –3.41 standard
   deviations is the result of imbalances in numerous job groups that disfavor African
   Americans by one to two standard deviations. That is, the overall disadvantage to
   African Americans is diffuse, and extends across many job groups.28

   27
      As with Table 2.2 (see note 20), each of these yearly entries needs to be interpreted in the
   context of the others; one cannot properly infer that only those years with disparities in excess of
   two standard deviations call for an explanation other than chance. The yearly imbalances are
   consistent with a steady annual pattern of disadvantage to African Americans measuring –1.19
   standard deviations, from which the yearly entries in Table 3.2 may be regarded as random
   departures, some less favorable and some more favorable. If promotions are awarded randomly
   (and hence in a nondiscriminatory manner) within cohorts, the yearly entries should appear to be
   random departures above and below 0.00 standard deviations, and the entries in Table 3.2
   clearly do not meet this requirement.
   28
       There is one job group, 82 Laborers 3 (+2.05 standard deviations), where the disparity exceeds
   +2 standard deviations to the advantage of African Americans. The probability that one or more
   of these job groups would randomly yield a number of standard deviations equal to or exceeding
   +2.05 is 0.5377, which corresponds to 0.00 standard deviations, nearly perfect racial balance.
   In other words, if promotions were awarded at random (and hence without discrimination) within
   each cohort, one would expect that at least one of the 38 job groups capable of exhibiting an
   imbalance of as much as +2.05 standard deviations would in fact do so. Indeed, even if
   promotions were awarded disproportionately to non- African Americans within each cohort, there
   is a substantial probability that among these 38 job groups, at least one would exhibit an


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           Table 3.5, summarizing by division, shows once again that the overall imbalance
   of –3.41 standard deviations is diffuse – there is no single division which accounts for it.
   The imbalance is due instead to the disproportionately large number of divisions in which
   African Americans were promoted at less than parity. African Americans received fewer
   promotions than expected in 44 out of 58 divisions in which there are comparators and
   at least one promotion.29


           Table 3.6 shows the promotion disparity’s components summarized by education
   level and also by years of service. In the education summary, the disparity is most
   pronounced among college graduates (–2.13 standard deviations) and employees for
   whom no education is recorded (–2.48 standard deviations), these being the categories
   that account for the great majority of employees. Results from the two other educational
   categories also tip against African Americans, but by less than a standard deviation each.
   As the summary by years of service shows, the promotion disparity is greatest among
   employees with relatively little seniority (–4.15 standard deviations) and those with a lot
   of seniority (–2.89 standard deviations). Once again, it appears that the overall disparity
   is not confined to a single small group of employees.


           In sum, there is a very strong overall pattern in which African Americans do not
   receive a proportionate share of promotions relative to their peers – employees having the

   imbalance of +2.05 or more standard deviations. Thus the fact that one such job group in Table
   3.4 has an imbalance of +2.05 standard deviations shows neither that African Americans were
   favored in that job group nor that promotions were non-discriminatory in that job group.
   29
      There was one division, 00513-Oilseeds (–2.28 standard deviations), where the disparity
   exceeds –2 standard deviations to the disadvantage of African Americans. The probability that
   one or more divisions would randomly yield a number of standard deviations equal to or
   exceeding –2.28 is 0.2023, which corresponds to –0.83 standard deviations. Being less than
   two standard deviations in magnitude, this signals an imbalance to the disadvantage of African
   Americans that is so small as to be attributable to chance. There was one division, 00550-PPD
   (+2.24 standard deviations), where the disparity exceeds +2 standard deviations to the advantage
   of African Americans. The probability that one or more divisions would randomly yield a
   number of standard deviations equal to or exceeding +2.24 is 0.3787, which corresponds to
   0.31 standard deviations. Being less than two standard deviations in magnitude, this signals an
   imbalance to the advantage of African Americans that is so small as to be attributable to chance.



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   same education level, length of service, FLSA status, job group and division. This
   overall imbalance measures –3.41 standard deviations, equivalent to one chance in
   3,078. Of particular interest for the purposes of class certification is the fact that the
   overall disparity cannot be attributed to a single time period, division or job group or to
   only exempt or non-exempt employees. Neither can it be attributed to some small group
   of employees distinguished by their education level or service.




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                                 TABLES 3.1 – 3.6: PROMOTIONS




                                    Table 3.1 Overall Summary

                                            African
              Total         Total          Americans
            Employees     Promoted         Promoted           Expected        Shortfall   S.D.s
               186,481       10,085           328              380.21          (52.21)    (3.41)




                                           Table 3.2 By Year

                                                African
                       Total        Total      Americans
          Year       Employees    Promoted     Promoted           Expected   Difference     S.D.s
          1997          14,447        578              22           23.12       (1.12)      (0.17)
          1998          29,405      1,912              66           70.63       (4.63)      (0.61)
          1999          28,962      1,925              66           67.56       (1.56)      (0.16)
          2000          29,376      2,163              54           78.91      (24.91)      (3.49)
          2001          27,837      1,472              45           55.95      (10.95)      (1.82)
          2002          27,997      1,276              44           55.94      (11.94)      (2.11)
          2003          28,457        759              31           28.11        2.89        0.61




                                    Table 3.3 By FLSA Status

   FLSA      Total      Total Promoted      African Americans Promoted         Expected     Difference   S.D.s
   Exempt    118,674               7,101                    184                  220.20       (36.20)    (3.10)
   Nonex      67,807               2,984                    144                  160.02       (16.02)    (1.57)




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                                                   Table 3.4 By Job Group


                st
    Job Group (1 2 digits are Cargill’s EEO category.         Total          Total    Afr Amer
                   PG = Pay Grade)                          Employees      Promoted   Promoted    Expected   Difference   S.D.s
05 NZ ACCOUNTANTS 2-5                                            7,004          295      10        16.56       (6.56)     (1.96)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                       2,202          200      1          4.33       (3.33)     (1.96)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                   4,094          525      5         11.04       (6.04)     (1.95)
05 N3 SKILLED CLERICAL 1-4                                       4,831          192      6         11.76       (5.76)     (1.92)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                19,506          979      26        36.14       (10.14)    (1.90)
02 R DEVELOP & ANALYTICAL RESRCH SPEC (PG 1-10)                  6,377          513      7         13.36       (6.36)     (1.83)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                  4,386          339      6          9.61       (3.61)     (1.46)
05 N1 SKILLED CLERICAL 5-7                                       8,857          445      10        15.44       (5.44)     (1.45)
03 NR TECHNICAL SUPPORT                                          4,184          222      6         10.06       (4.06)     (1.42)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                  10,073          721      30        36.88       (6.88)     (1.32)
05 NY ACCOUNTANTS 6-7                                            2,183          120      4          5.96       (1.96)     (1.25)
01 H MERCHANDISING MANAGEMENT (PG 11+)                           2,364          121      2          4.05       (2.05)     (1.17)
01 XX-8595 PAINTING & DECORATING OCC                                 700         20      1          2.69       (1.69)     (1.17)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                   1,149          155      3          5.56       (2.56)     (1.12)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                   2,735          333      13        16.12       (3.12)     (1.08)
05 NV SECRETARIES 2-5                                            2,544          156      3          4.80       (1.80)     (0.76)
09 N7 SERVICE WORKERS                                                304         12      1          1.90       (0.90)     (0.57)
01 K ACCOUNTING MANAGEMENT (PG 10+)                              3,664          191      3          4.05       (1.05)     (0.32)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                   2,864          202      5          6.02       (1.02)     (0.27)
06 N4 CRAFTS                                                     5,984          145      9          9.87       (0.87)     (0.17)
__ 80 {Unknown Job Group}                                            970         75      1          1.56       (0.56)     (0.06)
07 N5 OPERATIVES                                                19,132          666      42        42.65       (0.65)     (0.03)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                      4,156          267      4          4.52       (0.52)     (0.01)
__ 11 MANAGEMENT ll                                              1,125           32      1          1.38       (0.38)     0.00
__ 12 MANAGEMENT lll                                                 322         33      0          0.29       (0.29)     0.00
__ 41 SALES BELOW 10                                                 667         88      3          2.81        0.19      0.00
__ CS {Unknown Job Group}                                            176         17      1          0.50        0.50      0.00
01 A GENERAL MANAGEMENT III (PG 18+)                                  65          4      1          0.50        0.50      0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                                 271         12      0          0.09       (0.09)     0.00
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                 6,152          303      8          8.34       (0.34)     0.00
02 X OTHER SPECIALISTS (PG 1-10)                                 2,869          170      7          6.85        0.15      0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                            3,198          149      4          3.42        0.58      0.05
__ 81 LABORERS 2                                                     765         84      3          2.39        0.61      0.09
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                  10,174          436      16        14.93        1.07      0.18
01 C GENERAL MANAGEMENT (PG 9-15)                                1,357           71      2          1.33        0.67      0.35
__ 60 CRAFT WORKERS SKILLED                                          764         52      1          0.30        0.70      0.44
03 NT COMPUTER OPERATIONS                                            969         65      10         8.71        1.29      0.54
05 NU SECRETARIES 6-7                                            3,245          123      2          0.95        1.05      0.58
02 OTHER SPECIALIST (PG 1-10)                                    5,064          244      5          3.50        1.50      0.74
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                    10,016          394      7          5.07        1.93      0.74
01 U SALES MANAGEMENT (PG 11+)                                   3,689          120      3          1.70        1.30      1.06
08 N6 LABORERS                                                   5,326          240      25        20.89        4.11      1.07
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                   2,989          125      5          2.91        2.09      1.13




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                                                                  Table 3.4 cont’d
               st
 Job Group (1 2 digits are Cargill’s EEO category.                         Total              Total      Afr Amer
           PG = Pay Grade)                                            Employees           Promoted
                                                                                                                         Expected         Difference   S.D.s
                                                                                                         Promoted
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                            3,025               211           13              10.19          2.81      1.22
__ 82 LABORERS 3                                                                660              89           11               6.20          4.80      2.05
14 additional job groups have insufficient data to calculate a number of S.D.s.           Highlighted lines have 20 or more expected African Americans.



                                                            Table 3.5 By Division

                                                Total     Total              Afr Amer
                            Division          Employees Promoted             Promoted             Expected         Difference S.D.s
                    00513-OILSEEDS                 6,899            321               8               16.00          (8.00)      (2.28)
                    07120-DSONA                    3,282            128               8               13.73          (5.73)      (1.94)
                    00507-SALT                     4,671            230               3                8.08          (5.08)      (1.85)
                    00512-CORN MLG                10,433          1,064           39                  47.63          (8.63)      (1.48)
                    07440-EXCELCR                    751             52            1                   3.14          (2.14)      (1.45)
                    07105-ARO                        438             15            0                   2.00          (2.00)      (1.31)
                    07245-HEA/FDTECH                 683             46            1                   2.61          (1.61)      (1.15)
                    00532-FMG                      2,422            197            0                   1.87          (1.87)      (1.12)
                    00518-DRY MLG                  4,121            292           14                  17.91          (3.91)      (1.10)
                    00538-NSS                      5,278            288            4                   6.69          (2.69)      (0.95)
                    00535-HOHENBERG                  661             15            1                   2.37          (1.37)      (0.94)
                    00516-FOOD SECTR                 450             65            1                   2.59          (1.59)      (0.79)
                    07025-CAN                      6,470            207            1                   2.43          (1.43)      (0.69)
                    07070-TURKPROD                 4,245            215            4                   5.56          (1.56)      (0.60)
                    07135-SWEETNRNA                7,579            360           17                  19.44          (2.44)      (0.59)
                    07515-ADMIN                    9,710            440            7                   8.99          (1.99)      (0.56)
                    07290-VALUEINV                   353             22            0                   0.80          (0.80)      (0.50)
                    07968-MEAT SOL                 2,647            146            1                   2.00          (1.00)      (0.44)
                    00001-NAG                     13,651            837           38                  40.65          (2.65)      (0.40)
                    00036-WWJFV                      682             53            0                   0.82          (0.82)      (0.39)
                    07010-AGHORIZUS                7,297            174            1                   1.93          (0.93)      (0.34)
                    00546-CGL ENERGY                 609             51            0                   0.67          (0.67)      (0.28)
                    07295-CIS                      2,064             57            7                   7.94          (0.94)      (0.25)
                    00539-EXCEL                   13,590            914           25                  26.54          (1.54)      (0.24)
                    00505-ADMIN                    9,682            821           24                  25.34          (1.34)      (0.21)
                    07500-SSC                        600             11            0                   0.60          (0.60)      (0.20)
                    07220-VIT E                       77             10            0                   0.55          (0.55)      (0.08)
                    00531-AFL                        634             26            2                   2.57          (0.57)      (0.06)
                    00034-FERTILIZER               3,048            158            5                   5.52          (0.52)      (0.01)
                    00015-WGTG-LA                    239             38            1                   0.67           0.33        0.00
                    00047-ROGERS                     151              8            0                   0.25          (0.25)       0.00
                    00073-COFFEE                     283             19               1               1.50           (0.50)       0.00
                    00405-PEANUTS                    551             15               2               1.52            0.48        0.00
                    00523-CSW                      1,529             56               2               2.44           (0.44)       0.00
                    00530-WILLKNIGHT                 732             36               0               0.17           (0.17)       0.00




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                                                   Table 3.5 cont’d

                           Total     Total                  Afr. Amer.
             Division    Employees Promoted                 Promoted         Expected     Difference       S.D.s
     00537-SILENT KNIGHT      212          5                     1             1.07         (0.07)         0.00
     07090-FDPHARMNAM         355          6                     0             0.25         (0.25)         0.00
     07100-SOYPROTSOL         334        19                      0             0.05         (0.05)         0.00
     07110-US PNUTS            83          2                     0             0.50         (0.50)         0.00
     07115-HORIZMILL        2,649       133                      9             9.20         (0.20)         0.00
     07325-GOSCNA                  5,426            202         26            26.15            (0.15)      0.00
     07370-CGLCITRPUR                603             37          2             2.00             0.00       0.00
     07405-WWCOTTON                  630             19          3             3.42            (0.42)      0.00
     07420-EXCEL BEEF              5,974            337          9             9.04            (0.04)      0.00
     07443-TAYLOR BEEF               190              1          0             0.10            (0.10)      0.00
     07475-FERTDISTR                 769             47          0             0.25            (0.25)      0.00
     07495-NSS                     4,825            175          7             7.31            (0.31)      0.00
     07480-DEICTECHN               1,286             52          1             0.49             0.51       0.02
     07485-SALT                    3,454            131          6             5.31             0.69       0.10
     00533-CIS                     1,867            125         12            11.11             0.89       0.18
     07415-EMMPAK                  1,429             56          3             2.31             0.69       0.19
     07963-ALLIANT                   100              9          1             0.25             0.75       0.58
     00503-AN NUTR DV              6,095            217          4             2.58             1.42       0.71
     07465-PHOSPHPROD              2,649            108          8             5.82             2.18       0.87
     00511-BIOSCIENCES               650             48          1             0.14             0.86       1.04
     00106-NAG/AGM                   347             24          3             1.67             1.33       1.25
     07430-EXCEL PORK              1,995             99          3             1.22            1.78        1.38
     00550-PPD                     4,352            338          9             4.46            4.54        2.24
     An additional 56 divisions have insufficient data     Highlighted lines have 20 or more expected African
     to calculate a number of S.D.s.                                           Americans.



                             Table 3.6 By Education Level and Service

                                        Total            African Americans
   Education Level        Total                                                  Expected         Difference       S.D.s
                                      Promoted                Promoted
   Advance degree         12,005             785                        27             28.26             (1.26)    (0.21)
   College                62,673           4,962                       122            142.18            (20.18)    (2.13)
   Less than college      10,408             486                         8             10.46             (2.46)    (0.87)
   None recorded         101,395           3,852                       171            199.31            (28.31)    (2.48)
                                        Total            African Americans
   Years of Service       Total                                                  Expected         Difference       S.D.s
                                      Promoted                Promoted
  1st quartile            46,046           3,783                       119            160.25            (41.25)    (4.15)
  2nd quartile            47,460           3,146                       108            104.51               3.49     0.38
  3rd quartile            45,966           2,067                        72             70.37               1.63     0.18
  4th quartile            47,009           1,089                        29             45.09            (16.09)    (2.89)




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   Section IV. Pay Progression

              Plaintiffs claim that Cargill discriminates against African Americans in
   advancement and compensation. A pay progression study offers a method for examining
   both pay and advancement practices, since pay increases often correspond to promotions
   and other advancement opportunities. For this study, we group employees similarly
   situated as of December 31st of each year and, for those present in the next year’s
   snapshot, compute each employee’s change in annual salary between the current and
   subsequent snapshot.30 Using a rank sum test, we then examine whether the pay of
   African Americans increases at a rate similar to non- African Americans who share the
   same FLSA status, division, and job group with similar levels of education and company
   service.31


              Table 4.1 shows the overall summary for the pay progression study. Overall,
   Cargill gave disproportionately low pay increases to African Americans as compared to
   non- African Americans with the same FLSA status, in the same job group, in the same
   division, with similar education and service. The overall disparity between the actual and
   expected pay increases equates to –5.34 standard deviations, based on a rank sum test.
   Expressed on the probability scale, this imbalance has a p-value of less than one in
   twenty-one million. The average increase in annual pay for African Americans lagged
   behind that of their peers by $289.73.


              Table 4.2 breaks down the summary by year. It shows that African Americans
   received smaller pay increases than non- African Americans in five of the six years
   examined. The disparities exceed two standard deviations in three years (namely, 1997,
   1998 and 2002), all to the disadvantage of African Americans. In the five years in which
   the pay increases of African Americans lagged behind those of their similarly situated

   30
        Annual salary refers to the base rate of pay reported in the pay history records.
   31
      For this study, we exclude any employee with an annual salary less than $10,000 due to
   uncertainty about how these employees are compensated. Most of these employees are in sales
   positions. We use base salary as a measure of pay, excluding, e.g., any awards, bonuses or stock
   options.



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   peers, the average pay increase disparities range from $208.19 to $471.67. In the one
   year in which the average pay increase favored African Americans, the disparity was only
   $29.33.


           Table 4.3 shows that both exempt and non-exempt African Americans received
   disproportionately small pay increases. The number of standard deviations associated
   with the pay increase disparities exceeds two standard deviations to the disadvantage of
   both exempt and non-exempt African Americans.


           Table 4.4 presents the results of the pay progression study by job group. African
   Americans received smaller pay increases than expected in 34 of the 48 job groups in
   which there are comparators. The disparity in pay increases exceeds two standard
   deviations to the disadvantage of African Americans in five of these job groups.32 There
   are no job groups in which the disparity exceeds two standard deviations to the advantage
   of African Americans. Evidently the overall disparity of –5.34 standard deviations is
   attributable not to just one or a few job groups, but is an accumulation of disparities
   across many such groups.

             Table 4.5 presents the results at the division level. African Americans received
   smaller pay increases than expected in 39 out of 59 divisions in which there are
   comparators. The disparity exceeds two standard deviations to the disadvantage of
   African Americans in eight divisions. There is one division, 00550-PPD, with a disparity
   exceeding two standard deviations to the advantage of African Americans.33

   32
      The number of standard deviations associated with the disparities in the five job groups range
   from –3.59 to –2.63. There are 39 job groups large enough to generate an imbalance of –2.63
   or more standard deviations. The probability that five or more of these would randomly yield a
   number of standard deviations less than or equal to –2.63 is less than one in a million, and
   equates to –4.82 standard deviations.
   33
      The numbers of standard deviations associated with the disparities in the eight divisions range
   from –4.02 to –2.03. There are 47 divisions large enough to generate an imbalance of –2.03
   or more standard deviations. The probability that eight or more of these would randomly yield a
   number of standard deviations less than or equal to –2.03 is less than one in a hundred fifty
   thousand, and equates to –4.36 standard deviations. There was one division, 00550-PPD
   (+2.16 standard deviations), where the disparity exceeds +2 standard deviations to the advantage
   of African Americans. The probability that one or more job groups would randomly yield a


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           Table 4.6 shows the overall summary broken down first by educational level and
   then by years of service. In every educational category, the pay increases of African
   Americans lag behind those of non- African Americans. In two of the four categories,
   the differences exceed two standard deviations. Likewise, in every quartile of service,
   the pay increases of African Americans lag behind those of their cohort peers, and in two
   quartiles, the disparities are greater than two standard deviations. Again, the overall
   disparity is not limited to just a few small employee groups.


           In sum, there is a strong pattern in which African Americans have received
   smaller pay increases than have their cohort peers, measuring –5.34 standard deviations
   or, on the probability scale, less than one chance in 21 million. Of particular interest for
   the purposes of class certification is the fact that the overall disparity cannot be attributed
   to a single time period, division or job group or to only exempt or non-exempt
   employees. As with the performance rating study and the promotion study, the disparity
   in pay increases between African Americans and their peers is not restricted to one
   particular year, FLSA status, division, job group, educational level or service quartile.




   number of standard deviations equal to or exceeding +2.16 is 0.5205, which corresponds to
   0.00 standard deviations or near-perfect balance. Thus, if pay increases were awarded at random
   (and hence without discrimination) within each cohort, one would expect that at least one of the
   48 divisions capable of exhibiting an imbalance of as much as +2.16 standard deviations would
   in fact do so. Indeed, even if pay increases generally favored non- African Americans within
   each cohort, there is a substantial probability that among these 48 divisions, at least one would
   exhibit an imbalance of +2.16 or more standard deviations. Thus the fact that one such division
   in Table 4.5 has an imbalance of +2.26 standard deviations shows neither that African
   Americans were favored in that division nor that pay increases were non-discriminatory in that
   division.




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                               TABLES 4.1-4.6: PAY PROGRESSION


                                       Table 4.1 Overall Summary

                       Total African     Avg Afr Amer         Diff Afr Amer v.        Weighted
Total Employees                                                                                         S.D.s
                        Americans            Pay                    Non                 Diff
       72,686               2,670         $2,273.22              ($289.73)          ($773,585.84)      (5.34)



                                           Table 4.2 By Year

           Total     Total African     Avg Afr Amer        Diff Afr Amer
Year                                                                             Weighted Diff        S.D.s
         Employees    Americans            Pay                 v. Non
1997        12,011            455        $1,797.29            ($208.19)       ($94,726.10)            (2.68)
1998        12,266            462        $2,286.08            ($471.67)      ($217,913.55)            (2.42)
1999        12,468            459        $2,556.55            ($325.87)      ($149,572.87)            (1.82)
2000        12,277            445        $2,669.14            ($339.95)      ($151,278.34)            (1.99)
2001        11,672            415        $2,302.49              $29.33         $12,172.50             (1.11)
2002        11,992            434        $2,024.89            ($396.93)      ($172,267.47)            (3.05)



                                          Table 4.3 By FLSA

                              Total African      Avg Afr          Diff Afr Amer
FLSA      Total Employees                                                             Weighted Diff   S.D.s
                               Americans        Amer Pay              v. Non
Exempt            45,591            1,190       $3,195.98           ($336.52)         ($400,453.31)   (2.37)
Nonex             27,095            1,480       $1,531.27           ($252.12)         ($373,132.52)   (5.03)




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                                                   Table 4.4 By Job Group

                 st
    Job Group (1 2 digits are Cargill’s EEO category.         Total      Total African    Avg Afr      Diff Afr
                                                                                                                   Weighted Diff   S.D.s
                   PG = Pay Grade)                          Employees     Americans      Amer Pay    Amer v. Non
07 N5 OPERATIVES                                                 7,533            629    $1,331.41    ($198.49)    ($124,851.15)   (3.59)
08 N6 LABORERS                                                   1,897            181    $1,270.48    ($538.94)    ($97,547.48)    (3.49)
05 NV SECRETARIES 2-5                                             997              36    $1,154.84    ($824.47)    ($29,680.79)    (2.82)
__ 11 MANAGEMENT ll                                               618              18    $1,550.00   ($1,568.39)   ($28,230.99)    (2.75)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                2,362             53    $2,543.40    ($886.92)    ($47,007.00)    (2.63)
05 N3 SKILLED CLERICAL 1-4                                       1,879             99    $1,060.92    ($476.61)    ($47,184.72)    (1.96)
01 H MERCHANDISING MANAGEMENT (PG 11+)                            927               9    $3,166.67   ($7,475.03)   ($67,275.29)    (1.78)
01 K ACCOUNTING MANAGEMENT (PG 10+)                              1,422             22    $5,963.64   ($2,473.40)   ($54,414.74)    (1.77)
09 N7 SERVICE WORKERS                                             147               9    $2,727.38   ($2,638.14)   ($23,743.24)    (1.65)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                   1,556             28    $5,291.07   ($1,245.42)   ($34,871.70)    (1.60)
05 N1 SKILLED CLERICAL 5-7                                       3,464            118    $1,626.02    ($260.48)    ($30,736.08)    (1.52)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                   4,094            121    $3,264.19    ($385.98)    ($46,704.04)    (1.46)
05 NY ACCOUNTANTS 6-7                                             879              14    $1,168.94   ($1,108.59)   ($15,520.25)    (1.44)
01 U SALES MANAGEMENT (PG 11+)                                   1,333             15    $2,600.00   ($1,812.96)   ($27,194.44)    (1.41)
02 X OTHER SPECIALISTS (PG 1-10)                                 1,080             28    $6,078.57   ($1,231.47)   ($34,481.05)    (1.28)
__ 60 CRAFT WORKERS SKILLED                                       411               1    $208.00     ($4,009.60)    ($4,009.60)    (1.16)
01 B GENERAL MANAGEMENT ll (PG 9-17)                               97               1    $3,000.00   ($2,500.00)    ($2,500.00)    (1.00)
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                 2,375             42    $4,609.52    ($716.35)    ($30,086.89)    (0.94)
01 C GENERAL MANAGEMENT (PG 9-15)                                 495               3    $1,666.67    ($231.99)      ($695.98)     (0.92)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                 7,279            308    $2,529.75    ($116.19)    ($35,786.26)    (0.89)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                    514              12    $4,333.33    ($454.94)     ($5,459.33)    (0.81)
__ 41 SALES BELOW 10                                              265               2    $2,250.00   ($1,376.79)    ($2,753.57)    (0.73)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                  1,651             22    $3,013.64   ($2,006.83)   ($44,150.16)    (0.70)
03 NR TECHNICAL SUPPORT                                          1,583             57    $1,754.36    ($448.90)    ($25,587.41)    (0.67)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                        774              14    $2,507.14   ($1,495.55)   ($20,937.71)    (0.64)
__ 80 {Unknown Job Group}                                         493              10    $1,502.40   ($1,301.62)   ($13,016.16)    (0.61)
05 NU SECRETARIES 6-7                                            1,309             15    $2,339.72     $375.97       $5,639.56     (0.52)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                 1,172             15    $5,600.00     $250.02       $3,750.32     (0.50)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                   1,038             29    $3,906.90    ($498.51)    ($14,456.67)    (0.33)
01 S TRAFFIC, TRANS & LOGISTICS MANAGE (PG 11+)                   266               5    $4,400.00   ($1,800.00)    ($9,000.00)    (0.20)
05 NZ ACCOUNTANTS 2-5                                            2,774            124    $1,449.58     ($43.52)     ($5,395.88)    (0.14)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                     3,729             56    $4,861.52    ($387.70)    ($21,711.15)    (0.02)
01 Q RESEARCH MANAGEMENT (PG 11+)                                 624               2    $6,250.00   ($1,250.00)    ($2,500.00)    0.00
03 NT COMPUTER OPERATIONS                                         353              38    $3,223.79    ($878.07)    ($33,366.53)    0.09
__ 81 LABORERS 2                                                  409               6    $6,770.67    $3,731.61     $22,389.67     0.23
__ 30 TECHNICIANS                                                  72               1    $2,400.00     $620.00       $620.00       0.30
__ 21 GENERAL PROFESSIONALS                                       214               2    $1,775.00     $146.75       $293.51       0.33
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                            1,225             14    $6,714.29     $964.10      $13,497.39     0.38
06 N4 CRAFTS                                                     2,610            117    $1,906.06     $232.99      $27,260.08     0.56
01 XX-8595 PAINTING & DECORATING OCC                              195               9    $4,055.56   ($1,513.95)   ($13,625.59)    0.57
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                   1,052             43    $3,171.91     $605.52      $26,037.24     0.71
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                   3,679            232    $2,129.05     $91.64       $21,259.97     0.78
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                      1,340             10    $2,850.00     $591.50       $5,915.03     0.83
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                                                                  Table 4.4 cont.

                   st
    Job Group (1 2 digits are Cargill’s EEO category.               Total             Total Afr         Avg Afr     Diff Afr Am    Weighted
                   PG = Pay Grade)                                Employee             Amer            Amer Pay       v. Non         Diff         S.D.s
__ 12 MANAGEMENT lll                                                         560              23        $2,050.00     $248.10      $5,706.23      0.93
01 A GENERAL MANAGEMENT III (PG 18+)                                          28                  1    $10,000.00   $10,000.00     $10,000.00     1.00
02 OTHER SPECIALIST (PG 1-10)                                              1,898              28        $3,198.39    ($169.57)     ($4,747.92)    1.12
__ 82 LABORERS 3                                                             307              23        $4,077.01     $651.20      $14,977.50     1.21
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                             1,175              25        $6,132.00    $2,731.90     $68,297.44     1.86
An additional 12 job groups have insufficient data to calculate
a number of S.D.s
                                                                                   Highlighted lines have 50 or more African Americans.




                                                            Table 4.5 By Division

                                                              Total
                                          Total                                Avg Afr                  Diff Afr        Weighted
  Division                                                   African                                                                     S.D.s
                                        Employees                             Amer Pay                Amer v. Non         Diff
                                                            Americans
  00001-NAG                                       6,265              373       $1,663.97               ($292.68)      ($109,168.22)      (4.02)
  00523-CSW                                         799               90       $1,188.26               ($375.05)       ($33,754.51)      (2.83)
  07440-EXCELCR                                     168                8       $1,850.00              ($1,831.99)      ($14,655.95)      (2.43)
  00505-ADMIN                                     4,631               89       $4,700.56              ($1,439.12)     ($128,081.28)      (2.34)
  00533-CIS                                       1,000               63       $3,158.61              ($1,461.85)      ($92,096.66)      (2.23)
  00507-SALT                                      2,469               89       $2,556.41               ($488.50)       ($43,476.06)      (2.22)
  07115-HORIZMILL                                   726               42       $1,245.81               ($340.12)       ($14,285.14)      (2.18)
  07135-SWEETNRNA                                 1,990               86       $2,637.95                ($90.51)        ($7,783.54)      (2.03)
  00518-DRY MLG                                   2,057               92       $1,565.79               ($545.43)       ($50,179.99)      (1.86)
  07420-EXCEL BEEF                                1,769               50       $2,225.84               ($220.41)       ($11,020.29)      (1.69)
  00512-CORN MLG                                  5,140              210       $2,969.43               ($622.53)      ($130,732.04)      (1.68)
  07010-AGHORIZUS                                 1,999               33        $986.72                ($350.51)       ($11,566.88)      (1.52)
  00036-WWJFV                                       397               16       $1,975.75                 $55.57           $889.17        (1.42)
  07475-FERTDISTR                                   198                1         $0.00                ($4,500.00)       ($4,500.00)      (1.34)
  07370-CGLCITRPUR                                  158                6       $2,689.67               ($788.11)        ($4,728.67)      (1.25)
  07025-CAN                                       1,533               27        $939.20                ($232.80)        ($6,285.51)      (1.13)
  07500-SSC                                         194               10       $1,180.00               ($530.00)        ($5,300.00)      (1.12)
  00108-WILBR CHOC                                  334                6       $1,093.33              ($1,153.21)       ($6,919.28)      (1.09)
  07080-WILBUR                                      186                2       $2,250.00               ($191.67)         ($383.33)       (1.08)
  00034-FERTILIZER                                1,843               77       $3,001.64               ($209.81)       ($16,155.09)      (1.01)
  00510-CCI                                         157                8        $900.00                ($225.00)        ($1,800.00)      (1.00)
  07515-ADMIN                                     2,837               55       $2,720.47               ($892.19)       ($49,070.23)      (0.96)
  07968-MEAT SOL                                    801                4       $2,875.00               ($697.92)        ($2,791.67)      (0.91)
  00516-FOOD SECTR                                  196                8       $7,537.49               ($846.39)        ($6,771.15)      (0.87)
  07325-GOSCNA                                    1,743              171       $1,922.11               ($257.98)       ($44,114.92)      (0.80)
  07220-VIT E                                        67                1       $3,000.00              ($1,214.29)       ($1,214.29)      (0.68)
  07110-US PNUTS                                     28                4        $552.98                ($506.51)        ($2,026.04)      (0.63)
  07485-SALT                                        855               38       $1,878.42               ($671.09)       ($25,501.41)      (0.60)
  00531-AFL                                         183               13       $2,131.33               ($539.46)        ($7,013.03)      (0.58)
  07510-WIRE                                        157               27        $714.13                ($172.63)        ($4,660.93)      (0.57)




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                                                      Table 4.5 cont’d
                                   Total         Total African     Avg Afr          Diff Afr
          Division               Employees        Americans       Amer Pay        Amer v. Non       Weighted Diff    S.D.s
07290-VALUEINV                           103                 3    $4,000.00         ($366.67)        ($1,100.00)    (0.54)
00530-WILLKNIGHT                         322                 3    $1,444.00          $688.38          $2,065.15     (0.50)
07105-ARO                                394                38    $1,815.02         ($352.08)       ($13,378.87)    (0.30)
07430-EXCEL PORK                         608                11    $3,552.00         $1,093.82        $12,032.00     (0.15)
07120-DSONA                              589                52    $1,483.19        ($532.52)        ($27,690.79)    (0.12)
00532-FMG                              1,041                12    $5,404.58        ($907.02)        ($10,884.29)    (0.09)
00047-ROGERS                              88                 4    $3,000.00        ($333.33)         ($1,333.33)     0.00
00538-NSS                              3,130               112    $2,520.11          $80.60           $9,026.69      0.02
07405-WWCOTTON                           154                15    $1,360.77          $12.77            $191.60       0.12
07070-TURKPROD                         1,160                36    $1,673.62         $190.32           $6,851.40      0.17
00539-EXCEL                            6,914               160    $3,060.93         ($45.17)         ($7,227.22)     0.20
00513-OILSEEDS                         3,446               216    $1,683.23        ($274.38)        ($59,265.46)     0.22
07415-EMMPAK                             304                10    $1,431.42        ($399.99)         ($3,999.89)     0.26
07480-DEICTECHN                          343                10    $2,860.80         $688.75           $6,887.45      0.29
00106-NAG/AGM                            184                 4    $6,000.00        $1,500.00          $6,000.00      0.34
00503-AN NUTR DV                       3,343                45    $1,255.13        ($155.07)         ($6,978.11)     0.36
07295-CIS                                479                38    $3,623.81        ($571.91)        ($21,732.51)     0.53
00535-HOHENBERG                          387                53    $1,151.77         $311.64          $16,516.75      0.59
07245-HEA/FDTECH                         147                 1    $1,000.00         $500.00            $500.00       0.94
00546-CGL ENERGY                         243                 1    $6,250.00        $2,750.00          $2,750.00      1.00
00511-BIOSCIENCES                        208                 3    $6,728.64        $2,370.26          $7,110.79      1.07
07465-PHOSPHPROD                         625                32    $6,004.88        $2,239.51         $71,664.23      1.12
00405-PEANUTS                            265                32    $1,122.10          $81.97           $2,623.16      1.13
00508-SEED                               839                 1    $3,000.00        $1,900.00          $1,900.00      1.26
07495-NSS                              1,172                33    $2,719.88         $593.01          $19,569.21      1.29
00073-COFFEE                             126                11    $1,808.73        $1,085.09         $11,936.04      1.53
00015-WGTG-LA                            115                 2    $4,750.00        $1,900.00          $3,800.00      1.73
00550-PPD                                2,113             28     $2,768.67        $1,204.54         $33,727.10      2.16
 An additional 47 divisions have insufficient
                                                             Highlighted lines have 50 or more African Americans.
    data to calculate a number of S.D.s.




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                                 Table 4.6 By Education Level and Service

                                        Total
Education Level     Total Employees    African     Avg Afr Amer Pay   Diff Afr Amer v. Non   Weighted Diff   S.D.s
                                      Americans
Advance Degree                4,520           68      $5,385.29           ($1,897.67)        ($129,041.29)   (2.23)
College                      24,458          494      $3,950.71             ($161.34)         ($79,703.65)   (0.93)
Less Than College             4,228           63      $2,157.98             ($108.28)          ($6,821.47)   (1.70)
None Recorded                39,480        2,045      $1,768.06             ($272.87)        ($558,019.43)   (4.94)
                                        Total
Years of Service    Total Employees    African     Avg Afr Amer Pay   Diff Afr Amer v. Non   Weighted Diff   S.D.s
                                      Americans
1st quartile                 17,342          636      $2,852.04             ($600.75)        ($382,078.30)   (4.39)
2nd quartile                 17,771          533      $2,408.31             ($491.79)        ($262,121.86)   (3.58)
3rd quartile                 18,593          612      $2,173.48             ($165.57)        ($101,329.25)   (1.99)
4th quartile                 18,980          889      $1,846.79              ($31.56)         ($28,056.42)   (1.06)




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   Section V. Bonuses, Awards and Incentives

           The data files made available to us report the earnings paid to Cargill employees
   for each quarter of each year, starting with the last quarter of 1997 and ending with the 3rd
   quarter of 2003. Included in these earnings data are discretionary payments such as
   bonuses, awards and incentives that permit one to examine whether African Americans
   receive these types of payments at levels comparable to their non- African American
   peers. Lacking a full understanding of which employees are eligible to receive these
   different types of discretionary payments or how such payments are determined and
   assigned, we take a conservative approach by examining only those employees who
   actually received a bonus, award or incentive. To the extent that African Americans are
   eligible for these payments but do not, in fact, receive them, the study results reported
   below may understate the actual disparity between African Americans and their peers.


           Using year-end snapshots from 1997 to 2002 and grouping employees in these
   snapshots as before (by FLSA status, job group, division, education level and service),
   we identify those employees who in the subsequent year received a bonus, award or
   incentive and calculate, for each employee, the sum of these payments. Using these
   sums, we use a rank sum test to determine whether African Americans receive smaller
   bonuses, awards and incentives compared to non- African Americans in the same cohort.

           Table 5.1 shows the overall summary for the discretionary pay study. Overall,
   Cargill gave disproportionately low bonuses, awards and incentives to African Americans
   as compared to non- African Americans with the same FLSA status, in the same job
   group, in the same division, and with similar education and service. Overall, bonuses,
   awards and incentives for African Americans lagged behind those of their similarly
   situated peers by $583.95 per year, on average, an imbalance which equates to –9.08
   standard deviations. On the probability scale, this equates to less than one in a billion
   billion that the disparity is due to chance.


           Table 5.2 breaks this overall summary down by year. The table shows that
   African Americans received smaller bonuses, awards and incentives than expected in all



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   seven of the years examined. The disparities exceed two standard deviations to the
   disadvantage of African Americans in four years (namely, 1998, 2000, 2001 and 2002).


           Table 5.3 shows that both exempt and non-exempt African Americans received
   disproportionately small bonuses, awards and incentives. The number of standard
   deviations associated with the allocation of discretionary pay exceeds five standard
   deviations to the disadvantage of both exempt and non-exempt African Americans.


           Table 5.4 presents the results of the discretionary pay study by job group. African
   Americans received smaller bonuses, awards and incentives than expected in 36 of the
   47 job groups in which there are comparators. The disparity in discretionary pay
   exceeds two standard deviations to the disadvantage of African Americans in ten of these
   job groups.34

           Table 5.5 presents the results at the division level. African Americans received
   smaller bonuses, awards and incentives than expected in 39 out of 58 divisions in which
   there are comparators. The disparity exceeds two standard deviations to the disadvantage
   of African Americans in fifteen divisions.35

   34
      The number of standard deviations associated with the disparities in the ten job groups range
   from –5.63 to –2.01. There are 39 job groups large enough to generate an imbalance of –2.01
   or more standard deviations. The probability that ten or more of these would randomly yield a
   number of standard deviations less than or equal to –2.01 is less than one in a hundred million,
   and equates to –5.62 standard deviations. There are two job groups, 12-Management III and 02
   L Accounting Specialists – Level II (PG 5-9), in which the disparity exceeds two standard
   deviations to the advantage of African Americans (+2.59 and +2.77 standard deviations,
   respectively). There are 35 job groups large enough to generate an imbalance of 2.59 or more
   standard deviations. The probability that two or more of these would randomly yield a number of
   standard deviations equal to or exceeding 2.59 standard deviations is 0.0125, which equates to
   2.24 standard deviations. This is large enough to suggest that African Americans were not
   disfavored in every job group; it does not dispel the indications that they were disfavored in most.
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      The numbers of standard deviations associated with the disparities in the fifteen divisions
   range from –5.02 to –2.15. There are 42 divisions large enough to generate an imbalance of
   –2.15 or more standard deviations. The probability that fifteen or more of these would randomly
   yield a number of standard deviations less than or equal to –2.15 deviations is less than one in a
   million billion, and equates to −8.21 standard deviations. There is one division, 00513-
   Oilseeds, with a disparity exceeding two standard deviations to the advantage of African
   Americans (namely 2.74 standard deviations). There are 38 divisions large enough to generate
   an imbalance of 2.74 or more standard deviations. The probability that one or more of these


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           Table 5.6 breaks down the overall summary first by education level and then by
   length of service. It shows that for every educational group and for every service
   quartile, there is an imbalance to the disadvantage of African Americans that exceeds two
   standard deviations. Indeed, the least egregious of these imbalances is –3.55 standard
   deviations.


           In sum, there is a strong pattern in which African Americans have received
   smaller bonuses, awards or incentives than have their cohort peers, measuring –9.08
   standard deviations or, on the probability scale, less than one chance in a billion billion.
   Of particular interest for the purposes of class certification is the fact that the overall
   disparity cannot be attributed to a single time period, division or job group or to only
   exempt or non-exempt employees. As with the performance rating study, the promotion
   study and the pay increase study, the disparity in bonuses, awards and incentives between
   African Americans and their peers is not restricted to one particular year, FLSA status,
   division, job group, education level or service quartile.




   would randomly yield a number of standard deviations equal to or exceeding 2.74 standard
   deviations is 0.1113, and imbalance which equates to 1.22 standard deviations. This being less
   than two standard deviations, the single division exhibiting an imbalance of –2.74 standard
   deviations is insignificant – it does not show there was any division in which African Americans
   were not disfavored.




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                      TABLES 5.1-5.6: BONUSES, AWARDS and INCENTIVES

                                        Table 5.1 Overall Summary

               Total  Total African Avg Afr             Diff Afr Amer
             Employees Americans Amer Pay                   v. Non           Weighted Diff    S.D.s
                    63,785        2,777      3,379.46        (583.95)        (1,406,746.62)   (9.08)




                                               Table 5.2 By Year

                 Total   Total African         Avg Afr Amer Diff Afr Amer
          Year Employees Americans                 Pay          v. Non    Weighted Diff               S.D.s
          1997      7,872         352              $4,565.83        ($298.90)       ($88,474.98)       (1.59)
          1998      8,608         421              $3,072.34        ($632.72)      ($235,370.95)       (2.42)
          1999      9,574         407              $2,986.16        ($215.48)       ($79,726.48)       (1.09)
          2000      9,659         427              $3,150.80        ($719.88)      ($270,673.89)       (6.13)
          2001      9,069         407              $3,144.25        ($682.56)      ($242,991.38)       (6.08)
          2002      9,946         436              $3,049.10        ($718.27)      ($266,478.87)       (4.54)
          2003      9,057         327              $4,128.99        ($832.20)      ($223,030.07)       (1.88)



                                              Table 5.3 By FLSA

                   Total     Total African      Avg Afr Amer      Diff Afr Amer
  FLSA           Employees    Americans             Pay               v. Non         Weighted Diff              S.D.s
 Exempt           42,770        1,286             5,806.30          (1,146.98)       (1,220,391.23)             (7.25)
Non-exempt        21,015        1,491             1,459.64              (138.55)      (186,355.39)              (5.71)




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                                                         Table 5.4 By Job Group
                   st
     Job Group (1 2 digits are Cargill’s EEO category.          Total     Total African   Avg Afr Amer Diff Afr Amer
           PG = Pay Grade)                                    Employees    Americans          Pay          v. Non    Weighted Diff   S.D.s
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                  7,475           339        3,423.46     (588.63)    (184,240.01)   (5.63)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                 2,411             68       2,844.33    (1,211.41)    (73,896.20)   (3.85)
02 X OTHER SPECIALISTS (PG 1-10)                                  1,165             39      11,026.29    (6,867.24)   (212,884.36)   (3.48)
07 N5 OPERATIVES                                                  8,236           704        1,455.98     (106.34)     (72,841.14)   (3.26)
05 NZ ACCOUNTANTS 2-5                                             1,416             98       1,888.54     (242.79)     (17,966.64)   (3.16)
03 NR TECHNICAL SUPPORT                                           1,272             74       1,480.37     (245.97)     (15,988.23)   (2.92)
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                    1,262             26      12,242.45    (4,721.52)    (94,430.46)   (2.54)
08 N6 LABORERS                                                    2,143           211         810.35      (252.48)     (47,718.86)   (2.52)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                    4,453           144        6,958.82     (965.89)    (131,361.28)   (2.49)
06 N4 CRAFTS                                                      2,522           131        1,619.27     (163.92)     (19,506.55)   (2.01)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                     716              44       2,214.21    (1,163.00)    (24,423.06)   (1.97)
01 K ACCOUNTING MANAGEMENT (PG 10+)                               1,474             20      13,684.89    (4,259.28)    (76,667.10)   (1.91)
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                             1,361             24      10,444.35    (1,983.64)    (27,770.89)   (1.63)
09 N7 SERVICE WORKERS                                              116               8        519.00      (987.65)      (1,975.31)   (1.58)
__ 80 {Unknown Job Group}                                          161               4        657.85      (353.45)      (1,413.82)   (1.45)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                    3,758           216        3,965.93     (225.23)     (44,370.17)   (1.38)
03 NT COMPUTER OPERATIONS                                          121              27       1,291.02     (428.02)      (4,708.25)   (1.36)
05 NU SECRETARIES 6-7                                              526               9       1,810.94     (147.10)        (588.39)   (1.34)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                     355              10       1,356.89     (144.82)      (1,158.57)   (1.33)
01 A GENERAL MANAGEMENT III (PG 18+)                                19               1       3,051.00    (4,779.00)     (4,779.00)   (1.22)
05 N3 SKILLED CLERICAL 1-4                                        1,097             53       1,461.93       (94.53)     (3,970.07)   (1.20)
__ 81 LABORERS 2                                                   120               2        100.00      (525.00)      (1,050.00)   (1.20)
01 U SALES MANAGEMENT (PG 11+)                                    1,469             20      16,600.58    (6,977.00)   (125,586.05)   (1.19)
02 OTHER SPECIALIST (PG 1-10)                                     1,318             22       5,807.99    (3,200.08)    (38,400.97)   (1.06)
__ 41 SALES BELOW 10                                               332               3       4,779.07    (2,205.71)     (6,617.13)   (0.98)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                      3,293             49       6,242.46     (876.74)     (40,329.90)   (0.95)
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                282               9       6,625.00    (2,983.13)    (11,932.50)   (0.85)
01 H MERCHANDISING MANAGEMENT (PG 11+)                             964              17      69,656.29   (13,311.65)    (93,181.55)   (0.85)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                     781              32       3,750.11     (974.28)     (15,588.47)   (0.77)
__ 21 GENERAL PROFESSIONALS                                        222               1       4,100.00    (1,309.82)     (1,309.82)   (0.45)
__ 11 MANAGEMENT ll                                                725              19      11,117.05    (1,357.23)    (23,072.86)   (0.38)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                  1,000             20      12,945.99    (1,970.97)    (19,709.67)   (0.35)
05 NV SECRETARIES 2-5                                              502              38       2,048.15     (210.25)      (6,517.73)   (0.35)
05 NY ACCOUNTANTS 6-7                                              493              18       3,830.77     (472.83)      (5,201.09)   (0.19)
01 XX-8595 PAINTING & DECORATING OCC                               279              13      11,778.67     (147.64)      (1,328.76)   (0.17)
__ 82 LABORERS 3                                                   106               6       1,096.69     (125.54)        (502.18)   (0.14)
01 B GENERAL MANAGEMENT ll (PG 9-17)                                96               1        904.58      (143.92)        (143.92)     0.00
01 Q RESEARCH MANAGEMENT (PG 11+)                                  679               6       9,550.00    (1,700.00)     (3,400.00)     0.00
05 N1 SKILLED CLERICAL 5-7                                        2,079           106        1,716.13        86.98       8,697.85      0.15




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                                                                   Table 5.4 cont’d

                                                                                                                       Diff Afr
              st
Job Group (1 2 digits are Cargill’s EEO category.                       Total           Total Afr        Avg Afr        Amer
           PG = Pay Grade)                                            Employees          Amer           Amer Pay       v. Non      Weighted Diff S.D.s
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                     1,496                39       6,499.44       (34.35)         (996.11)    0.16
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                      675                9      4,043.88     (907.22)       (7,257.75)     0.21
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                 1,136                15       2,145.56     (850.35)       (7,653.14)     0.26
__ 30 TECHNICIANS                                                                65                1      4,892.00       537.60           537.60     0.29
01 C GENERAL MANAGEMENT (PG 9-15)                                               556                8     13,125.00     2,359.92          4,719.83    0.55
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                  645              24       2,931.29       755.31         12,840.25    1.18
__ 12 MANAGEMENT lll                                                            460              21       4,784.33       820.29         17,226.00    2.59
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                             1,332                24       5,154.42     1,666.91         21,669.77    2.77
An additional 12 job groups have insufficient data to calculate a number of S.D.s.        Highlighted lines have 50 or more African Americans.




                                                             Table 5.5 By Division

                                                Total           Total African          Avg Afr         Diff Afr Amer
               Division                       Employees          Americans            Amer Pay             v. Non       Weighted Diff       S.D.s
               07325-GOSCNA                          1,775                  212         1,620.17            (577.56)     (105,116.31)       (5.02)
               07135-SWEETNRNA                       3,261                  185         2,746.39            (646.50)      (98,913.95)       (4.56)
               00001-NAG                             4,716                  326         1,352.69            (219.09)      (69,230.87)       (4.34)
               00034-FERTILIZER                      1,748                   81         2,987.84            (797.25)      (58,996.25)       (4.03)
               07515-ADMIN                           2,219                   49        12,511.14          (2,301.31)      (94,353.85)       (3.40)
               00512-CORN MLG                        4,872                  242         2,861.44            (465.30)      (94,456.63)       (3.23)
               07968-MEAT SOL                          964                    7         4,099.73          (9,452.33)      (56,713.98)       (3.16)
               00518-DRY MLG                         1,576                   75         1,537.33            (453.83)      (29,045.01)       (3.01)
               07465-PHOSPHPROD                        997                   66         3,773.48            (419.63)      (23,079.71)       (2.88)
               00538-NSS                             3,278                  128         5,265.55          (1,419.10)     (167,453.93)       (2.63)
               07420-EXCEL BEEF                      2,400                   68         6,487.42          (1,455.31)      (93,139.92)       (2.49)
               00533-CIS                               847                   62         8,213.67            (645.17)      (23,871.37)       (2.45)
               07110-US PNUTS                           24                   11         1,982.57          (1,168.51)       (4,674.03)       (2.24)
               07290-VALUEINV                          162                    5         3,125.00          (2,125.00)       (8,500.00)       (2.20)
               00505-ADMIN                           1,498                   33         8,991.93          (3,082.86)      (86,320.14)       (2.15)
               00550-PPD                             1,792                   33         3,491.91            (345.33)      (10,360.00)       (1.94)
               07510-WIRE                              126                   32         1,518.81            (385.05)      (11,551.46)       (1.78)
               07440-EXCELCR                           212                   17         4,767.88          (1,124.44)       (8,995.50)       (1.78)
               00507-SALT                            1,419                   53         2,674.18            (372.65)      (17,887.36)       (1.78)
               07010-AGHORIZUS                       2,495                   36         1,603.29            (625.32)      (21,886.18)       (1.75)
               00036-WWJFV                             185                    7         3,094.30            (626.65)       (4,386.57)       (1.60)
               07080-WILBUR                             95                    1        24,187.50          (2,338.55)       (2,338.55)       (1.34)
               07500-SSC                               114                    1         1,243.56            (329.88)         (329.88)       (1.34)
               07963-ALLIANT                            53                    2        55,000.00         (15,000.00)      (15,000.00)       (1.22)
               07115-HORIZMILL                         806                   54           999.29            (254.73)      (12,736.42)       (1.08)
               00405-PEANUTS                            96                   11         1,740.00            (248.18)       (2,481.82)       (1.07)
               07295-CIS                               398                   29         6,813.04          (3,796.95)      (68,345.06)       (1.05)



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                                                  Table 5.5 cont’d
                                   Total         Total African         Avg Afr    Diff Afr Amer
   Division                      Employees        American            Amer Pay        v. Non        Weighted Diff     S.D.s
   07285-RISKMGMT                        109                  1       25,000.00     (95,000.00)      (95,000.00)      (1.00)
   07430-EXCEL PORK                      604                  5        6,828.98         1,108.90         5,544.52     (0.82)
   00532-FMG                             986                 18       32,360.48       (6,112.27)     (97,796.26)      (0.80)
   07245-HEA/FDTECH                      285                  8        3,438.67       (1,239.78)       (8,678.46)     (0.79)
   07070-TURKPROD                     1,206                  36        2,750.03         (143.12)       (4,865.99)     (0.65)
   07370-CGLCITRPUR                       87                  3        4,972.72         (916.17)       (2,748.52)     (0.50)
   07485-SALT                         1,339                  65        1,921.86         (267.66)     (16,327.35)      (0.45)
   00530-WILLKNIGHT                      123                  2          352.18              3.98             3.98    (0.43)
   07475-FERTDISTR                       264                  5        6,440.00       (1,991.29)       (3,982.58)     (0.41)
   07025-CAN                          1,045                  12          304.41           (98.53)        (886.73)     (0.32)
   00503-AN NUTR DV                   1,849                  21        1,439.43           328.49         4,927.35     (0.24)
   07415-EMMPAK                          336                 14        2,490.69              9.77          117.18     (0.03)
   00106-NAG/AGM                          82                  3        9,500.00           422.02           844.05      0.00
   00108-WILBR CHOC                       72                  1          825.76              0.00             0.00     0.00
   07250-MWLYSINE                        137                  2        2,578.22             56.79          113.58      0.00
   00531-AFL                             377                 29        4,774.86             27.28          682.01      0.03
   07480-DEICTECHN                       520                 14        3,050.76           (31.61)        (442.60)      0.17
   00537-SILENT KNIGHT                   101                  2          333.83             11.69            11.69     0.23
   00539-EXCEL                        5,169                 119        5,680.41         (691.80)     (77,481.30)       0.24
   07105-ARO                             373                 42        2,158.28         (544.92)     (21,251.69)       0.33
   00073-COFFEE                           39                  5        3,933.33         1,400.00         4,200.00      0.57
   07060-SUNFRFDS                        401                  5       23,371.02       11,437.27        45,749.07       0.58
   00523-CSW                             551                 91        2,144.82             71.18        5,837.16      0.71
   07495-NSS                          1,809                  67        5,248.95           514.12       29,304.99       0.73
   07220-VIT E                            71                  1        2,939.95           (34.19)          (34.19)     0.78
   00546-CGL ENERGY                      242                  5          742.43             69.43            69.43     1.00
   07085-FSD                              27                  3        2,500.00           500.00           500.00      1.00
   07125-DRYCORNING                      124                  3        4,000.00         2,000.00         2,000.00      1.00
   07300-PETROLEUM                        35                  2        1,500.00           500.00           500.00      1.00
   00047-ROGERS                           37                  7        9,000.00         1,333.33         1,333.33      1.00
   07120-DSONA                           978                 97        2,028.00         (414.05)     (36,436.74)       1.33
   00511-BIOSCIENCES                     219                  2        3,479.74         1,283.40         2,566.79      1.76
   00513-OILSEEDS                      2,872                 240       2,244.91          207.58        45,045.41      2.74
   An additional 56 divisions have insufficient data to calculate a
                                                                         Highlighted lines have 50 or more African Americans
   number of S.D.s




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                           Table 5.6 By Education Level and Service


                      Total      Total African           Avg Afr      Diff Afr Amer
Education Level     Employees     Americans             Amer Pay          v. Non        Weighted Diff   S.D.s
Advance degree           4,541               106          10,200.06        (7,940.82)    (452,627.00)   (4.60)
College                 21,625               553           6,152.59          (812.61)    (353,487.25)   (4.03)
Less than college        3,610               120           2,775.84        (1,270.28)     (78,757.39)   (4.12)
None recorded           34,009             1,998           2,539.75          (281.33)    (521,874.99)   (6.96)
                      Total      Total African           Avg Afr      Diff Afr Amer
Service             Employees     Americans             Amer Pay          v. Non        Weighted Diff   S.D.s
1st quartile            13,877              680            2,181.51         (762.15)     (445,094.77)   (3.55)
2nd quartile            16,001              564            3,689.82         (701.27)     (333,101.90)   (5.25)
3rd quartile            16,894              638            3,809.91         (351.46)     (198,222.40)   (3.80)
4th quartile            17,013              895            3,773.10         (547.49)     (430,327.55)   (5.52)




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   Section VI. Terminations

            Our final study examines whether African Americans were involuntarily
   terminated in disproportionately large numbers relative to their non- African American
   peers. Because there are instances where employees are hired and involuntarily
   terminated within a year, we once again use semi-annual snapshots (with snapshot dates
   of June 30th and December 31st of each year from 1997 to 2003) in order to capture those
   termination decisions that would be excluded using annual snapshots. For each semi-
   annual snapshot, we group employees by FLSA status, division, job group, educational
   attainment and company service and identify from among each group those employees
   involuntarily terminated during the subsequent six month period, according to HRIS
   codes.


            Table 6.1 shows the overall summary for the termination study. In all, it
   encompasses 4,477 instances in which Cargill terminated employees between August
   22, 1997 and September 31, 2003, of which 297 were African American. If Cargill
   terminated African Americans in exactly the same proportions as their similarly situated
   peers, we would expect 246.78 African Americans to be terminated, 50.22 fewer than
   actually were. Expressed as a number of standard deviations, the excess in the number of
   African Americans terminated equates to –4.55 standard deviations, far exceeding the
   two standard deviation threshold. On the probability scale, this disparity equates to less
   than one chance in 370,000.


            Table 6.2 breaks this summary down by year. The table shows, for a given year,
   the total number of employees, the number from among this total that were terminated,
   and the number of these who are African Americans. Also reported is the number of
   African Americans that would be terminated if Cargill terminated African Americans at
   exactly the same rate as their cohort peers. The last two columns of the table report the
   difference between the actual and expected numbers of African American terminations
   and the number of standard deviations associated with this difference. As shown in the
   table, African Americans were terminated more often than expected in each of the seven




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   years, with the disparity exceeding two standard deviations to the disadvantage of
   African Americans in three years (namely, 1999, 2000 and 2002).


           Table 6.3 shows that the disparity between the actual and expected numbers of
   African American terminations equals or exceeds two standard deviations to the
   disadvantage of both exempt and non-exempt African Americans.


           Table 6.4 presents the results summarized by job group. Cargill terminated more
   African Americans than expected in 22 of the 37 job groups in which there are
   comparators and at least one termination. The disparity in terminations exceeds two
   standard deviations to the disadvantage of African Americans in four of these job
   groups.36 There are no job groups in which the disparity exceeds two standard deviations
   to the advantage of African Americans

           Table 6.5 shows that, at the division level, African Americans were terminated
   more often than expected in 37 out of 51 divisions in which there are comparators and
   at least one termination. The disparity equals or exceeds two standard deviations to the
   disadvantage of African Americans in three of these 29 divisions.37 There are no
   divisions in which the disparity favors African Americans by as much as two standard
   deviations.




   36
      The number of standard deviations associated with the disparities in the four job groups range
   from –3.27 to –2.06. There are 32 job groups large enough to generate an imbalance of –2.06
   or more standard deviations. The probability that four or more of these would randomly yield a
   number of standard deviations less than or equal to –2.06 is less than one in 280, and equates to
   –2.69 standard deviations.
   37
      The numbers of standard deviations associated with the disparities in the three divisions range
   from –2.19 to –2.00. There are 38 divisions large enough to generate an imbalance of –2.00
   or more standard deviations. The probability that three or more of these would randomly yield a
   number of standard deviations less than or equal to –2.00 is 0.0559, which equates to –1.59
   standard deviations. This being less than two standard deviations in magnitude indicates that the
   overall disparity disfavoring African American employees is attributable to persistent imbalances
   across many divisions, rather than to just a few outliers.



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          Table 6.6 breaks down the overall summary first by education level and then by
   length of service. In the two educational groups with the lion’s share of Cargill
   employees, African Americans were terminated in disproportionately large numbers, the
   imbalances being –3.84 standard deviations for one group and –2.27 standard
   deviations for the other. African Americans were terminated more often than expected in
   each of the four service quartiles.


          In sum, there is a strong pattern in which African Americans were terminated
   involuntarily in numbers disproportionately large relative to their cohort peers, measuring
   –4.55 standard deviations or, on the probability scale, less than one chance in 370,000.
   As with the performance rating study, the promotion study, the pay increase study, and
   the bonuses, awards and incentives study, the termination rate imbalances between
   African Americans and their peers is not restricted to one particular year, FLSA status,
   division, job group, educational level or service quartile.




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                                        TABLES 6.1 - 6.6: TERMINATIONS


                                               Table 6.1 Overall Summary

                                                       African
                   Total           Total             Americans
                 Employees      Terminated           Terminated                Expected           Difference       S.D.s
                  186,481          4,477                297                     246.78             (50.22)         (4.55)



                                                      Table 6.2 By Year

                                                             African
                          Total            Total           Americans
             Year       Employees       Terminated         Terminated                  Expected            Difference             S.D.s
            1997           14,447              174                11                          10.75              (0.25)             0.00
            1998           29,405              916                68                          63.27              (4.73)            (0.88)
            1999           28,962              619                36                          26.73              (9.27)            (2.15)
            2000           29,376              835                62                          50.35             (11.65)            (2.42)
            2001           27,837              759                54                          46.30              (7.70)            (1.53)
            2002           27,997              747                44                          33.00             (11.00)            (2.49)
            2003           28,457              427                22                          16.39              (5.61)            (1.49)



                                                      Table 6.3 By FLSA

                                                              African
                      Total                Total            Americans
      FLSA          Employees           Terminated          Terminated                    Expected          Difference            S.D.s
     Exempt                 118,674             2,562                          116                 90.04          (25.96)         (3.75)
     Nonex                   67,807             1,915                          181                156.74          (24.26)         (2.78)



                                                    Table 6.4 By Job Group

            st                                                                                       African      Expected
Job Group (1 2 digits are Cargill’s EEO category.             Total                 Total
                                                                                                   Americans       African          Difference      S.D.s
           PG = Pay Grade)                                  Employees            Terminated
                                                                                                   Terminated     Americans

06 N4 CRAFTS                                                           5,984               97              14              8.14            (5.86)   (3.27)
05 N3 SKILLED CLERICAL 1-4                                             4,831              231              25             17.89            (7.11)   (2.96)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                        4,386               63               6              2.88            (3.12)   (2.24)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                            4,156               99               4              1.50            (2.50)   (2.06)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                 2,364               35               3              1.05            (1.95)   (1.77)
__ 12 MANAGEMENT lll                                                    322                   2             1              0.07            (0.93)   (1.66)




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                                                                    Table 6.4 cont’d
              st
Job Group (1 2 digits are Cargill’s EEO category.                    Total              Total            Afr Amer
          PG = Pay Grade)                                          Employees         Terminated         Terminated       Expected      Difference     S.D.s
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                              4,094              75                    7        4.71           (2.29)   (1.51)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                             10,073             273                   24       18.42           (5.58)   (1.49)
02 X OTHER SPECIALISTS (PG 1-10)                                            2,869              46                    4        2.33           (1.67)   (1.30)
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                            6,152             156                    9        6.34           (2.66)   (1.20)
05 NZ ACCOUNTANTS 2-5                                                       7,004             264                   31       27.08           (3.92)   (1.20)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                             10,174             141                    7        4.48           (2.52)   (1.19)
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                              2,989              38                    1        0.13           (0.87)   (1.04)
07 N5 OPERATIVES                                                           19,132             375                   39       34.43           (4.57)   (0.85)
02 R DEVELOP & ANALYTICAL RESRCH SPEC (PG 1-10)                             6,377             124                    6        4.48           (1.52)   (0.69)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                               10,016             337                    5        3.45           (1.55)   (0.65)
05 N1 SKILLED CLERICAL 5-7                                                  8,857             258                   17       14.47           (2.53)   (0.65)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                              2,735              63                    5        3.81           (1.19)   (0.63)
03 NR TECHNICAL SUPPORT                                                     4,184             147                   11        9.23           (1.77)   (0.59)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                  2,202              43                    2        1.25           (0.75)   (0.35)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                            3,025              44                    2        1.20           (0.80)   (0.34)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                           19,506             395                   16       14.65           (1.35)   (0.27)
__ 11 MANAGEMENT ll                                                         1,125                  4                 1        1.00            0.00    0.00
__ 82 LABORERS 3                                                              660                  6                 0        0.29            0.29    0.00
01 C GENERAL MANAGEMENT (PG 9-15)                                           1,357              22                    0        0.46            0.46    0.00
01 K ACCOUNTING MANAGEMENT (PG 10+)                                         3,664              48                    0        0.29            0.29    0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                       3,198              51                    0        0.34            0.34    0.00
01 XX-8595 PAINTING & DECORATING OCC                                          700                  8                 0        0.33            0.33    0.00
01 U SALES MANAGEMENT (PG 11+)                                              3,689              89                    1        1.37            0.37    0.00
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                              1,149              28                    3        3.23            0.23    0.00
02 OTHER SPECIALIST (PG 1-10)                                               5,064             217                    1        1.40            0.40    0.00
05 NU SECRETARIES 6-7                                                       3,245              72                    1        0.98           (0.02)   0.00
05 NV SECRETARIES 2-5                                                       2,544             107                    5        4.53           (0.47)   0.00
08 N6 LABORERS                                                              5,326             228                   24       23.79           (0.21)   0.00
05 NY ACCOUNTANTS 6-7                                                       2,183              71                   11       12.00            1.00    0.36
03 NT COMPUTER OPERATIONS                                                     969              38                    2        2.92            0.92    0.37
01 Q RESEARCH MANAGEMENT (PG 11+)                                           1,632              40                    1        1.83            0.83    0.49
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                              2,864              95                    8       10.05            2.05    1.17
An additional 22 job groups have insufficient data to calculate a number of S.D.s.    Highlighted lines have 20 or more expected African Americans.



                                                              Table 6.5 By Division

                                                                                       African         Expected
                                                    Total             Total
                   Division                                                          Americans          African      Difference      S.D.s
                                                  Employees        Terminated
                                                                                     Terminated        Americans
                   07495-NSS                             4,825               222              15             9.74         (5.26)    (2.19)
                   07420-EXCEL BEEF                      5,974                72               6             2.38         (3.62)    (2.13)
                   00512-CORN MLG                       10,433                64               9             4.99         (4.01)    (2.00)
                   00550-PPD                             4,352                76               4             1.54         (2.46)    (1.72)
                   00001-NAG                            13,651               455              39            30.41         (8.59)    (1.71)
                   07025-CAN                             6,470               135               6             3.16         (2.84)    (1.58)
                   00513-OILSEEDS                        6,899               113              16            11.76         (4.24)    (1.37)
                   07135-SWEETNRNA                       7,579               154              12             8.20         (3.80)    (1.35)



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                                         Table 6.5 cont’d
                                                       African
                         Total          Total        Americans
        Division       Employees     Terminated      Terminated       Expected    Difference     S.D.s
 00538-NSS                   5,278             34              5           2.92        (2.08)   (1.13)
 07515-ADMIN                 9,710            190              8           5.30        (2.70)   (1.09)
 07440-EXCELCR                 751             15              3           1.73        (1.27)   (1.02)
 07105-ARO                     438              7              2           0.80        (1.20)   (0.96)
 07370-CGLCITRPUR              603              9              1           0.20        (0.80)   (0.75)
 07475-FERTDISTR               769             13              1           0.20        (0.80)   (0.75)
 07962-RMFS SS                 686              6              1           0.20        (0.80)   (0.75)
 07245-HEA/FDTECH              683             17              4           2.92        (1.08)   (0.74)
 00532-FMG                   2,422            186              9           7.51        (1.49)   (0.71)
 07295-CIS                   2,064             74             12          10.37        (1.63)   (0.66)
 07010-AGHORIZUS             7,297            324              6           4.52        (1.48)   (0.50)
 07415-EMMPAK                1,429             21              2           1.05        (0.95)   (0.49)
 00516-FOOD SECTR              450              2              1           0.27        (0.73)   (0.49)
 07485-SALT                  3,454             60              6           4.83        (1.17)   (0.37)
 00108-WILBR CHOC              555              2              1           0.33        (0.67)   (0.35)
 07968-MEAT SOL              2,647             31              1           0.33        (0.68)   (0.34)
 00505-ADMIN                 9,682             55              3           2.15        (0.85)   (0.28)
 00531-AFL                     634            229             21          20.16        (0.84)   (0.20)
 00518-DRY MLG               4,121             76             12          11.20        (0.80)   (0.16)
 00405-PEANUTS                 551             47             11          10.42        (0.58)   (0.07)
 00523-CSW                   1,529             13              3           2.45        (0.55)   (0.05)
 00034-FERTILIZER            3,048             27              1           1.36          0.36    0.00
 00036-WWJFV                   682             15              1           0.64        (0.36)    0.00
 00206-CFI                     157              3              1           0.50        (0.50)    0.00
 00507-SALT                  4,671            174              9           9.05          0.05    0.00
 00508-SEED                  1,968             69              1           1.20          0.20    0.00
 00533-CIS                   1,867             40              6           5.82        (0.18)    0.00
 00537-SILENT KNIGHT           212            104              2           2.00          0.00    0.00
 00539-EXCEL                13,590            119              5           4.64        (0.36)    0.00
 00546-CGL ENERGY              609             46              1           1.00          0.00    0.00
 07090-FDPHARMNAM              355             12              1           1.00          0.00    0.00
 07115-HORIZMILL             2,649             44              3           3.00          0.00    0.00
 07240-SAP                       8              5              1           1.00          0.00    0.00
 07325-GOSCNA                5,426            142             13          13.25          0.25    0.00
 07400-WWCOFFEE                 44             37              8           7.50        (0.50)    0.00
 07405-WWCOTTON                630             16              6           5.58        (0.42)    0.00
 07410-WWRUBBER                 18              5              2           2.00          0.00    0.00
 07430-EXCEL PORK            1,995             22              2           1.54        (0.46)    0.00
 07500-SSC                     600              6              1           0.60        (0.40)    0.00
 00511-BIOSCIENCES             650              5              0           0.07          0.07    0.00
 07265-IOL                     157              5              0           0.50          0.50    0.00
 07480-DEICTECHN             1,286             14              0           0.27          0.27    0.00
 07510-WIRE                    498              5              0           0.94          0.94    0.63
 00503-AN NUTR DV            6,095             95              0           1.96          1.96    1.43
 07120-DSONA                 3,282             56                 5        6.35         1.35    0.39



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                                                Table 6.5 cont’d

                                                                   African
                             Total             Total             Americans
        Division           Employees        Terminated           Terminated       Expected     Difference      S.D.s
 07465-PHOSPHPROD                2,649                39                      2        3.02           1.02     0.46
 07070-TURKPROD                  4,245               153                      2        4.15           2.15     1.06
 00535-HOHENBERG                     661                  11                  4        5.82          1.82      1.35
   An additional 63 divisions have insufficient data to          Highlighted lines have 20 or more expected African
             calculate a number of S.D.s.                                            Americans.



                                 Table 6.6 By Education and Service

                                                                 African      Expected
                            Total             Total
    Education Level                                            Americans       African        Difference     S.D.s
                          Employees        Terminated
                                                               Terminated     Americans
   Advance Degree              12,005              246                   9          6.25          (2.75)     (1.81)
   College                     62,673            1,212                  51         40.43         (10.57)     (2.27)
   Less Than College           10,408              249                  10         11.11            1.11      0.39
   None Recorded              101,395            2,770                 227        188.99         (38.01)     (3.84)
                                                                 African      Expected
                            Total             Total
   Years of Service                                            Americans       African        Difference     S.D.s
                          Employees        Terminated
                                                               Terminated     Americans
   1st quartile                 46,046           1,722                 127        106.63         (20.37)     (2.80)
   2nd quartile                 47,460           1,123                  69         54.93         (14.07)     (2.63)
   3rd quartile                 45,966             960                  55         47.58          (7.42)     (1.51)
   4th quartile                 47,009             672                  46         37.64          (8.36)     (1.71)




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   Other Studies
          In addition to the studies described above, we ran versions from which minorities
   (primarily Hispanics and Asians) other than African Americans were excluded. If Cargill
   discriminates against minority groups other than African Americans, the results of studies
   comparing African Americans to non- African Americans may underestimate the
   disparities associated with being African American at Cargill. Excluding minorities other
   than African Americans generally caused the disparities and the corresponding numbers
   of standard deviations to increase, suggesting that the results presented above are
   conservative in their assessment of plaintiffs’ claim that Cargill discriminates against
   African Americans in performance ratings, advancement, compensation and terminations.
   The results of these studies are reported in Appendix B.


            We conducted other variations on the studies described above. Noting that some
   African Americans lack non- African American comparators when employees are
   grouped by FLSA status, division, job group, education level and service, we ran our
   studies forming cohorts in two other, less restrictive, ways: (1) by FLSA status, division,
   education level and service and (2) by FLSA status, job group, education and service.
   The results of these studies are consistent with the results presented above and in some
   cases show even greater imbalances by race than do the studies described above.


          We also conducted a study that examined whether Cargill assigns the lowest two
   ratings in the PMP system (i.e., a 2 or 3 under the 5-point number rating scale or a BE or
   MS under the 5-point letter scale) to a disproportionately large number of African
   Americans. Since these ratings indicate that an employee has failed to meet performance
   expectations, Cargill may use these ratings to justify disciplinary actions against African
   Americans or to justify terminations. The overall disparity of –6.23 standard deviations
   indicates that African Americans received significantly more of the bottom two ratings
   than similarly situated non-African Americans.

          In another variation, we expanded the termination study to examine terminations
   coded as involuntary and terminations coded as voluntary but due to job abandonment,
   failure to return from leave of absence, dissatisfaction and walking off the job.


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